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01:43:18      1
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              4                          UNITED STATES DISTRICT COURT
                                        NORTHERN DISTRICT OF ILLINOIS
              5                                EASTERN DIVISION
              6
              7    UNITED STATES OF AMERICA,                Case No. 1:09-cr-00673
              8      Plaintiff,                             Chicago, Illinois
                                                            June 1, 2011
              9             v.                              Trial
                                                            1:30 P.M. SESSION
             10
                   RON COLLINS,
             11
                     Defendant.
             12    -------------------------------
             13
             14                                 VOLUME 2-B
                                            TRANSCRIPT OF TRIAL
             15                   BEFORE THE HONORABLE VIRGINIA M. KENDALL
                                 UNITED STATES DISTRICT JUDGE, AND A JURY
             16
             17
             18    APPEARANCES:
             19
             20
                   For the Government:         Office of the U.S. Attorney
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              1               (Resumed at 1:59 p.m.)
              2               (Whereupon the following discussion was had in open
01:59:39      3    court, outside the presence of the jury:)
01:59:39      4               THE COURT: Okay. Be please be seated. Tell the CSO
01:59:43      5    he can bring them on in.
02:00:13      6               (The jury enters the courtroom.)
02:00:13      7               THE COURT: Okay, folks, please be seated.
02:00:14      8               I hope you had a nice lunch. I just do want to
02:00:20      9    remind you that you need to take those north elevator banks,
02:00:26     10    okay, so we saw somebody in the south elevator banks. It's
02:00:27     11    just a precaution. Take the ones to my right, and that's over
02:00:30     12    on the north end of the building.
02:00:32     13               Okay. And you can call your next witness.
02:00:34     14               MS. GUREN: Thank you, your Honor. The Government
02:00:35     15    calls Antonio Aguilera.
02:00:59     16               (Witness takes the stand.)
02:00:59     17               THE COURT: Raise your right hand.
02:00:59     18               (The witness was sworn.)
02:01:00     19               THE COURT: Okay. Have a seat.
02:01:00     20                                        - - -
02:01:00     21                     ANTONIO AGUILERA, DIRECT EXAMINATION
02:01:00     22    BY MS. GUREN:
02:01:05     23    Q. Good afternoon, Mr. Aguilera.
02:01:06     24               Can you state and spell your last name for the
02:01:09     25    record?
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                                                                                             435

02:01:09      1    A. Antonio Aguilera, A-g-u-i-l-e-r-a.
02:01:13      2    Q. How old are you, Mr. Aguilera?
02:01:15      3    A. 27 -- 37.
02:01:18      4    Q. Where do you live generally?
02:01:21      5    A. South suburbs.
02:01:23      6    Q. How long have you lived in the South suburbs?
02:01:26      7    A. Twelve years, plus.
02:01:28      8    Q. Before that where did you grow up?
02:01:31      9    A. Chicago.
02:01:32     10    Q. How far did you go in school?
02:01:34     11    A. Sophomore.
02:01:36     12    Q. What do you do now for a living?
02:01:38     13    A. Repossessor.
02:01:39     14    Q. What does it mean to be a repossessor?
02:01:43     15    A. Repossess vehicles.
02:01:49     16    Q. Do you need a license for that work?
02:01:51     17    A. Yes.
02:01:51     18    Q. What kind of license is that?
02:01:52     19    A. Repossess license.
02:01:54     20    Q. Who issues it?
02:01:55     21    A. Chicago.
02:01:56     22    Q. Do you have a nickname?
02:01:57     23    A. Yes.
02:01:58     24    Q. What's your nickname?
02:01:59     25    A. T-bag.
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02:02:01      1    Q. Turning your attention now to March 24th, 2010, at that
02:02:07      2    time did you plead guilty to a federal drug charge?
02:02:10      3    A. Yes.
02:02:11      4    Q. In your own words, what did you plead guilty to?
02:02:14      5    A. Conspiracy.
02:02:16      6    Q. Conspiracy to do what?
02:02:20      7    A. Deliver drugs.
02:02:22      8    Q. What are the maximum penalties of that conspiracy charge?
02:02:27      9    A. Ten to life.
02:02:28     10    Q. Is there also a maximum fine associated with that?
02:02:30     11    A. Yes.
02:02:31     12    Q. What's the maximum fine?
02:02:32     13    A. 4 million.
02:02:34     14    Q. At the time that you pleaded guilty, did you plead guilty
02:02:38     15    to a plea agreement with the Government, or did you plead
02:02:41     16    guilty on your own?
02:02:42     17    A. On my own.
02:02:43     18    Q. Although you didn't plead guilty to an agreement with the
02:02:46     19    Government, is it your understanding that you are making
02:02:49     20    efforts to cooperate with the Government?
02:02:51     21    A. Yes.
02:02:52     22    Q. What do you understand you have to do in terms of your
02:02:55     23    cooperation with the Government?
02:02:56     24    A. Tell the truth.
02:02:57     25    Q. In exchange for your truthful testimony, what, if
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02:03:01      1    anything, do you expect from the Government?
02:03:04      2    A. A reduced sentence.
02:03:05      3    Q. I'm sorry. Say it again?
02:03:07      4    A. Reduced sentence.
02:03:08      5    Q. And do you expect that as a recommendation?
02:03:11      6    A. Yes.
02:03:11      7    Q. Have you been sentenced yet?
02:03:15      8    A. No.
02:03:15      9    Q. Do you know what your sentence will be?
02:03:17     10    A. No.
02:03:17     11    Q. Who will determine your sentence ultimately?
02:03:19     12    A. The judge.
02:03:20     13    Q. Which judge is that?
02:03:23     14    A. Judge Zagel.
02:03:25     15    Q. Is that the judge in your criminal case?
02:03:27     16    A. No.
02:03:28     17    Q. I'm sorry. Let me --
02:03:29     18    A. Here?
02:03:31     19    Q. Let me ask you that question again.
02:03:33     20               Is that the judge -- is Judge Zagel the judge in your
02:03:38     21    criminal case?
02:03:38     22    A. Yes.
02:03:38     23    Q. In order for the Government to recommend a reduced
02:03:41     24    sentence, what do you have to do?
02:03:43     25    A. Tell the truth.
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02:03:44      1    Q. What's your understanding of what happens if you don't
02:03:47      2    tell the truth during your testimony?
02:03:51      3    A. I won't get a reduced sentence.
02:03:55      4    Q. Directing your attention now to -- excuse me. Let me just
02:04:00      5    go back a sec.
02:04:02      6               Have you ever tried marijuana?
02:04:04      7    A. Yes.
02:04:04      8    Q. When was that?
02:04:06      9    A. Freshman year.
02:04:08     10    Q. How often did you do it?
02:04:12     11    A. Not too much.
02:04:12     12    Q. For what length of time?
02:04:13     13    A. Once, twice a month.
02:04:14     14    Q. When was the last time you used marijuana?
02:04:17     15    A. Freshman year.
02:04:19     16    Q. Now, directing your attention to 2004, were you working
02:04:23     17    then?
02:04:24     18    A. Yes.
02:04:25     19    Q. What types of legitimate jobs did you have at that time?
02:04:32     20    A. Carpentry, mechanic, stuff like that.
02:04:36     21    Q. Was this steady work?
02:04:38     22    A. No.
02:04:39     23    Q. At that -- turning to the end of 2004, besides for these
02:04:45     24    legitimate jobs, did you earn money in any other way?
02:04:48     25    A. Yes.
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02:04:48       1   Q. What was that?
02:04:49       2   A. Working for Junior and Peter.
02:04:55       3   Q. Do you know Junior and Peter's last name?
02:04:57       4   A. Flores.
02:04:58       5   Q. Now, I'm going to hand you several folders of photos. One
02:05:03       6   of them is Government Exhibit Photo 1 and Government Exhibit
02:05:08       7   Photo 2. I'm going to ask that you only look at each folder
02:05:12       8   as I talk about each folder, or you can look at the screen
02:05:16       9   next to you.
02:05:21     10                Turning first to Government Exhibit Photo 1 -- and,
02:05:29     11    your Honor, may we have permission to publish this photo?
02:05:30     12    It's already been admitted.
02:05:32     13                THE COURT: That's fine.
02:05:34     14    BY MS. GUREN:
02:05:34     15    Q. Do you recognize that photo?
02:05:35     16    A. Yes.
02:05:35     17    Q. Who is that?
02:05:36     18    A. Peter.
02:05:39     19    Q. Turning now to Government Exhibit Photo 2 -- and, your
02:05:42     20    Honor, permission to publish Photo 2?
02:05:44     21                THE COURT: You may.
02:05:45     22    BY MS. GUREN:
02:05:45     23    Q. Do you recognize that photo?
02:05:46     24    A. Yes.
02:05:47     25    Q. Who is that?
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02:05:48       1   A. Junior.
02:05:49       2   Q. Did you know Junior by any other name?
02:05:51       3   A. Margarito and J.
02:05:57       4   Q. How old were you when you first met the Flores brothers?
02:06:09       5   A. I don't know. Since I was young.
02:06:10       6   Q. How did you know them when you were young?
02:06:13       7   A. Parents, my parents know their parents.
02:06:15       8   Q. You testified that you started working for them around the
02:06:18       9   end of 2004. What types of work did you do for the Flores
02:06:22     10    brothers, when you started working for them?
02:06:25     11    A. Delivered and picked up drugs.
02:06:28     12    Q. Before you started delivering and picking up drugs for the
02:06:31     13    Flores brothers, did you ever try to get drugs from them for
02:06:34     14    your own sale?
02:06:36     15    A. Yeah.
02:06:39     16    Q. Tell the jury about that.
02:06:40     17    A. I asked them if they would sell me something, and he said
02:06:44     18    he would. I might talk to Margarito, Junior, and he said he
02:06:52     19    would talk to Peter about it. And then when I told him who I
02:06:55     20    was going to give them to, he just sold them to the guy
02:06:58     21    directly and didn't give me none.
02:07:00     22    Q. So did you ever end up getting cocaine for your own sale
02:07:04     23    from the Flores brothers?
02:07:05     24    A. No.
02:07:05     25    Q. How long in total did you end up working for the Flores
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02:07:14       1   brothers?
02:07:14       2   A. A little over three years.
02:07:16       3   Q. When did you stop approximately in terms of years?
02:07:19       4   A. In the middle of 2007.
02:07:21       5   Q. You talked about the fact that you picked up drugs for the
02:07:27       6   Flores brothers. What kind of drugs?
02:07:29       7   A. Cocaine.
02:07:34       8   Q. What did you first do for the Flores brothers when you
02:07:36       9   first started working for them?
02:07:39     10    A. Security for Cesar.
02:07:41     11    Q. Who is Cesar?
02:07:43     12    A. One of the workers.
02:07:48     13    Q. When did you meet Cesar?
02:07:50     14    A. 2001.
02:07:51     15    Q. Do you know Cesar's last name?
02:07:55     16    A. Perez.
02:07:55     17    Q. What was Cesar doing that he needed security for from you?
02:08:00     18    A. He was delivering drugs.
02:08:03     19    Q. Delivering what?
02:08:04     20    A. Drugs.
02:08:05     21    Q. After -- how long did you provide security for Cesar,
02:08:09     22    before you started doing your own picking up of drugs?
02:08:13     23    A. 2005, in the winter, beginning, beginning of 2005.
02:08:19     24    Q. When you were picking up cocaine, where were you picking
02:08:25     25    up the cocaine from?
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02:08:29       1   A. Well, warehouses and other places.
02:08:33       2   Q. Where would you -- well, how would you pick up the
02:08:36       3   cocaine?
02:08:36       4   A. In the SUV.
02:08:38       5   Q. Was there any -- where would you bring the cocaine to?
02:08:43       6   A. Stash house.
02:08:45       7   Q. What's a stash house?
02:08:47       8   A. A house that's rented under somebody else's name, no one
02:08:50       9   lives there, just use it to store drugs.
02:08:53     10    Q. After you picked up the cocaine, did you do anything for
02:08:57     11    the Flores brothers?
02:09:00     12    A. What do you mean?
02:09:01     13    Q. I'm sorry. Let me rephrase.
02:09:02     14                In addition to picking up the cocaine, did you do
02:09:05     15    anything else for the Flores brothers?
02:09:07     16    A. Yeah. I installed a stash compartment to vehicles.
02:09:11     17    Q. Backing up.
02:09:12     18                Before that did you do anything with the cocaine
02:09:15     19    besides picking it up?
02:09:17     20    A. Count it, deliver it.
02:09:20     21    Q. Okay. Going through that, first, about how much cocaine
02:09:24     22    would you pick up at a time?
02:09:27     23    A. 50 to 350.
02:09:32     24    Q. About how many times did you pick up cocaine from these
02:09:34     25    parking lots and warehouses?
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02:09:38       1   A. I don't know, at least a hundred times.
02:09:43       2   Q. When you say that you counted it, what did you do when you
02:09:46       3   counted it?
02:09:47       4   A. What do you mean?
02:09:48       5   Q. How did you count it? Or where did you --
02:09:51       6   A. Individually.
02:09:52       7   Q. -- count it?
02:09:52       8   A. We take it out, put it in the house, and count each one
02:09:55       9   individually.
02:09:56     10    Q. How was the cocaine packaged?
02:09:58     11    A. Square, like a book.
02:10:01     12    Q. Was it in certain quantities?
02:10:06     13    A. (No response.)
02:10:07     14    Q. Like how much did the book weigh?
02:10:09     15    A. A thousand grams.
02:10:11     16    Q. Is that also known as a kilogram?
02:10:13     17    A. Yes.
02:10:14     18    Q. Now, you also mentioned that you delivered cocaine in
02:10:17     19    addition to picking it up and counting it?
02:10:19     20    A. What do you mean?
02:10:20     21    Q. You said you delivered cocaine in addition to picking it
02:10:23     22    up and counting it?
02:10:24     23    A. Yeah.
02:10:24     24    Q. Who did you deliver the cocaine to?
02:10:27     25    A. Whoever Margarito or Peter asked me to deliver it to.
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02:10:33       1   Q. How many people in total did you deliver cocaine to?
02:10:40       2   A. I don't know. A lot, at least 30.
02:10:42       3   Q. At least 30.
02:10:44       4               During what time period?
02:10:48       5   A. 2005, 2007.
02:10:49       6   Q. What was the range of cocaine amounts that you would
02:10:53       7   deliver to a customer at a time?
02:10:55       8   A. From 5 to 50.
02:10:58       9   Q. How were you paid for delivering that cocaine?
02:11:02     10    A. By each one, cash.
02:11:05     11    Q. And how much did -- when you say each one, each one of
02:11:08     12    what?
02:11:08     13    A. Each kilo.
02:11:10     14    Q. How much did you get paid in cash for each kilogram?
02:11:12     15    A. Hundred bucks.
02:11:21     16    Q. How often did you deliver cocaine to customers during the
02:11:26     17    time period that you were doing that?
02:11:29     18    A. How often what?
02:11:30     19    Q. How often did you deliver cocaine to customers during the
02:11:34     20    time period of 2005 to 2007?
02:11:37     21    A. I don't know. It's a lot, man. Maybe fifteen times a
02:11:49     22    month.
02:11:50     23    Q. And did that amount depend on anything?
02:11:54     24    A. Yeah, it depended on what was there, like who we picked up
02:11:58     25    from or whatever was in the house.
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02:12:00       1   Q. And when you say whatever was in the house, what are you
02:12:03       2   referring to?
02:12:03       3   A. Drugs.
02:12:04       4   Q. How did you know to deliver to a customer?
02:12:08       5   A. Margarito or Peter would call me on my phone.
02:12:14       6   Q. And when you say that this phone -- did you have one phone
02:12:16       7   the entire time you worked for the Flores brothers?
02:12:19       8   A. No.
02:12:20       9   Q. How many phones did you have?
02:12:23     10    A. We'd change like every two months, a month to two months.
02:12:27     11    Q. Did you have one phone at a time and then change?
02:12:29     12    A. Yeah.
02:12:31     13    Q. When you got instructions from Pete or Junior Flores, what
02:12:36     14    types of things did they tell you?
02:12:42     15    A. Where to pick up, where to drop off, who to drop off to.
02:12:46     16    Q. Did you ever talk directly by phone to the people you were
02:12:50     17    delivering cocaine to?
02:12:51     18    A. No.
02:12:52     19    Q. What types of locations did you meet the people who you
02:12:56     20    were delivering cocaine to?
02:12:58     21    A. Parking garages, buildings, side streets.
02:13:01     22    Q. Was it the same spot for all customers?
02:13:06     23    A. Mostly -- well, each one had their own spots.
02:13:10     24    Q. So each customer had its own spot?
02:13:12     25    A. Yeah.
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                                                                                              446

02:13:13       1   Q. Or had their own spots?
02:13:15       2   A. Yes.
02:13:18       3   Q. When you delivered the cocaine, how did you bring the
02:13:21       4   cocaine to the customers?
02:13:25       5   A. Inside the vehicle, we would just pack it up, whatever he
02:13:29       6   would tell us to take, we would put it inside the stash of the
02:13:33       7   SUV, and go take it and put it in a duffle bag and give it to
02:13:40       8   them or put it in the car.
02:13:43       9   Q. I'm sorry. I missed some of that.
02:13:44     10                How was it in the SUV?
02:13:46     11    A. In the stash compartment.
02:13:48     12    Q. What's a stash compartment?
02:13:49     13    A. A hidden compartment in the vehicle.
02:13:51     14    Q. When you delivered cocaine to these customers, did you
02:13:55     15    ever pick up anything from the customers?
02:13:57     16    A. Rarely.
02:13:59     17    Q. What did you rarely pick up?
02:14:01     18    A. Money.
02:14:07     19    Q. Where did you take the money when you did get it on those
02:14:10     20    rare occasions?
02:14:11     21    A. To a different stash house, one of the other guys' house,
02:14:15     22    Little Man or Pug's house.
02:14:19     23    Q. And you said a different stash house, different from what?
02:14:20     24    A. A different one was used for drugs, and the other one is
02:14:23     25    used for money.
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02:14:24       1   Q. You also mentioned the names Little Man and Pugs. Who
02:14:29       2   were they?
02:14:30       3   A. Some of the other workers.
02:14:31       4   Q. Where did they work?
02:14:32       5   A. They worked for Junior or Peter.
02:14:34       6   Q. I'm sorry.
02:14:34       7               Where did they work?
02:14:36       8   A. In the house.
02:14:37       9   Q. What kind of house?
02:14:38     10    A. In the stash house.
02:14:39     11    Q. What was their stash house for?
02:14:41     12    A. For counting money.
02:14:43     13    Q. Did you ever count the money yourself?
02:14:45     14    A. No.
02:14:46     15    Q. When you weren't delivering cocaine to customers, did you
02:14:50     16    ever meet the customers for other reasons?
02:14:54     17    A. Yes.
02:14:54     18    Q. What were those reasons?
02:14:57     19    A. Just drop off a phone or pick up something, vehicle,
02:15:04     20    money, other small stuff.
02:15:06     21    Q. In terms of the phones, who, if anyone, instructed you to
02:15:10     22    drop off phones?
02:15:12     23    A. Junior or Peter.
02:15:15     24    Q. At a certain point -- and you started to mention this
02:15:18     25    earlier -- but did you focus on doing something else for the
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02:15:21       1   Flores brothers instead of customer deliveries of cocaine?
02:15:24       2   A. Yes.
02:15:24       3   Q. What was that?
02:15:25       4   A. Installing stash compartments.
02:15:28       5   Q. And are those the secret compartments that you're talking
02:15:31       6   about?
02:15:31       7   A. Yes.
02:15:31       8   Q. Where were those -- when did you start doing those secret
02:15:35       9   compartments?
02:15:36     10    A. The beginning of 2007.
02:15:38     11    Q. When did you stop doing those secret compartments?
02:15:42     12    A. In the middle of 2007.
02:15:44     13    Q. Who ordered you to install the secret compartments?
02:15:47     14    A. Peter.
02:15:49     15    Q. And I didn't ask you this in terms of your contact with
02:15:52     16    Peter and Junior Margarito, but how did they give you
02:15:56     17    instructions for these various things?
02:15:59     18    A. On the cellphone.
02:16:01     19    Q. Turning back to the secret compartments, how -- I guess
02:16:04     20    just to clarify, where were these secret compartments being
02:16:09     21    installed inside of?
02:16:10     22    A. Mainly in the SUV, the cargo area.
02:16:12     23    Q. How did you get these SUVs to install these secret
02:16:15     24    compartments?
02:16:17     25    A. From whoever, whoever they would tell me to pick it up
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02:16:21       1   from or someone would drop it off.
02:16:23       2   Q. Did you get paid for installing these secret compartments?
02:16:27       3   A. Yes.
02:16:27       4   Q. How much did you get paid?
02:16:29       5   A. 7, 7,000.
02:16:31       6   Q. In total, during the time that you worked for the Flores
02:16:35       7   brothers, how much cocaine can you estimate that you
02:16:39       8   delivered?
02:16:43       9   A. I don't know. It's a lot.
02:16:44     10    Q. Was it -- can you give at least a basement number that it
02:16:50     11    was above?
02:16:50     12    A. Thousands.
02:16:51     13    Q. How much money did you get in total for your time that you
02:16:54     14    worked with the Flores brothers?
02:16:58     15    A. How much did I get?
02:16:58     16    Q. Yes.
02:16:59     17    A. What, total?
02:17:00     18    Q. Yes.
02:17:01     19    A. I don't know. Maybe about 50 a year.
02:17:12     20    Q. Is that 50,000?
02:17:13     21    A. Yes.
02:17:15     22    Q. Turning now to look around the room, can you look around
02:17:19     23    the room?
02:17:19     24    A. Yes.
02:17:20     25    Q. Do you recognize anyone that you delivered to?
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02:17:22       1   A. Yes.
02:17:24       2   Q. Can you identify the individual by a piece of clothing
02:17:28       3   that he's wearing?
02:17:29       4   A. Yes.
02:17:29       5   Q. Will you do so, for the record?
02:17:31       6   A. Navy blue suit and the white shirt.
02:17:41       7               MS. GUREN: May the record reflect that the witness
02:17:43       8   has identified the defendant?
02:17:45       9               THE COURT: It will.
02:17:46     10    BY MS. GUREN:
02:17:48     11    Q. What did you know this person by, in terms of his name?
02:17:50     12    A. Ron Ron.
02:17:53     13    Q. Who was Ron Ron?
02:17:55     14    A. What?
02:17:56     15    Q. I'm sorry. Let me ask a different question a different
02:17:59     16    way.
02:17:59     17                How are you familiar with Ron Ron?
02:18:02     18    A. By meeting him, meeting him to drop off drugs.
02:18:07     19    Q. Approximately how many times did you deliver drugs to the
02:18:12     20    defendant?
02:18:13     21    A. It was a lot, but I only -- I could only remember five
02:18:17     22    times specifically.
02:18:18     23    Q. So when you say it was a lot but you can only remember
02:18:21     24    five times specifically, would in your -- do you believe it
02:18:27     25    was more than five times but you remember five specifically?
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02:18:30       1   A. Yeah.
02:18:30       2   Q. And what kind of drugs did you drop off?
02:18:33       3   A. I wouldn't know what was in there. I guess cocaine.
02:18:38       4   Q. Over what period of time?
02:18:40       5   A. Between 2005, 2007.
02:18:45       6   Q. About how often?
02:18:51       7   A. I didn't see him too much.
02:18:52       8   Q. How many times a year, could you estimate?
02:18:55       9   A. I don't know. Maybe once or twice a month. I mean --
02:19:05     10    Q. Approximately --
02:19:06     11    A. I didn't see him that much. I think I seen him only once
02:19:09     12    a month.
02:19:09     13    Q. About once a month?
02:19:11     14    A. But I don't remember what it was for, you know.
02:19:13     15    Q. So when you say you don't remember what it was for, were
02:19:16     16    there other things that you met the defendant for?
02:19:19     17    A. Yeah, to give him a phone or something, something else.
02:19:22     18    Q. Besides for a phone, do you remember -- and cocaine, was
02:19:25     19    there other things that you remember meeting the defendant
02:19:27     20    for?
02:19:28     21    A. Yeah, usually give him a phone or pick up something from
02:19:31     22    him, jewelry, or give him a phone number or something.
02:19:36     23    Q. Approximately how much cocaine at a time did you deliver
02:19:40     24    to the defendant?
02:19:42     25    A. Approximately how many times?
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02:19:44       1   Q. No.
02:19:45       2               How much cocaine did you deliver at a time to the
02:19:48       3   defendant?
02:19:49       4   A. Oh, 50.
02:19:50       5   Q. Was it sometimes less than 50?
02:19:52       6   A. Yes.
02:19:53       7   Q. What was the least amount of cocaine you recall delivering
02:19:56       8   to the defendant at a time?
02:19:57       9   A. 30, 35.
02:19:59     10    Q. Do you need some water by any chance?
02:20:01     11    A. No, I'm fine.
02:20:02     12    Q. There's actually a water pitcher right next to you and
02:20:06     13    cups. If you do need it, we can stop and get you some water.
02:20:14     14                When did you first meet the defendant?
02:20:17     15    A. 2005.
02:20:20     16    Q. Where did you first meet the defendant?
02:20:27     17    A. By a firehouse.
02:20:28     18    Q. When you say by a firehouse, do you remember the streets
02:20:32     19    nearby?
02:20:36     20    A. Madison and Monroe.
02:20:38     21    Q. Turning to Government Exhibit Photo 5, which I believe you
02:20:42     22    have in front of you, can you take a look at that?
02:20:49     23    A. In here?
02:20:50     24    Q. Yes. And I'll also put it up on the screen for you.
02:20:54     25                Do you see it on the screen?
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02:20:54       1   A. Yes.
02:20:55       2   Q. Do you recognize that?
02:20:56       3   A. Yes.
02:20:58       4   Q. What is that?
02:20:59       5   A. The apartment building.
02:21:01       6   Q. What apartment building?
02:21:03       7   A. Across the street from the firehouse.
02:21:07       8   Q. Is that a fair and accurate representation of that
02:21:09       9   building?
02:21:11     10    A. Yes.
02:21:12     11                MS. GUREN: At this time the Government would move
02:21:13     12    into evidence Government Exhibit Photo 5.
02:21:15     13                THE COURT: Okay. It will be admitted, and you can
02:21:19     14    publish.
02:21:20     15                MS. GUREN: Thank you, your Honor.
02:21:21     16    BY MS. GUREN:
02:21:24     17    Q. When you were talking about the fire station, is this the
02:21:26     18    building that's across from the fire station where you met the
02:21:29     19    defendant?
02:21:30     20    A. Yes.
02:21:32     21    Q. Now, I want to show you, in your folder and again on the
02:21:37     22    screen, Government Exhibit Photo 4. Do you recognize that
02:21:41     23    photo?
02:21:42     24    A. Yes.
02:21:46     25    Q. What is that photo?
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02:21:47       1   A. The firehouse across the street.
02:21:48       2   Q. Is that a fair and accurate representation of what the
02:21:51       3   firehouse looks like?
02:21:53       4   A. Yes.
02:21:53       5               MS. GUREN: At this time we would move to admit
02:21:56       6   Government Exhibit Photo 4 into evidence.
02:21:58       7               THE COURT: It will be admitted, and you can publish.
02:22:01       8               MS. GUREN: Thank you, your Honor.
02:22:05       9   BY MS. GUREN:
02:22:06     10    Q. When you were talking about the fire station, is this the
02:22:09     11    across-the-street fire station?
02:22:11     12    A. Yes.
02:22:11     13    Q. When you first met the defendant that very first time, was
02:22:15     14    anyone else with you?
02:22:15     15    A. Yes.
02:22:16     16    Q. Who else was with you?
02:22:17     17    A. Cesar.
02:22:20     18    Q. How did you -- and is that Cesar Perez?
02:22:23     19    A. Yes.
02:22:23     20    Q. How did you and Cesar Perez get to that area?
02:22:28     21    A. In the SUV.
02:22:30     22    Q. What, if anything, did the SUV have?
02:22:34     23    A. Drugs.
02:22:35     24    Q. What kind of drugs?
02:22:36     25    A. Cocaine.
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02:22:39       1   Q. And just to clarify -- I'm not sure if you said this
02:22:42       2   before -- when you were delivering to the defendant, you said
02:22:44       3   50. Did you say 50 what of cocaine?
02:22:46       4   A. 50 kilos.
02:22:47       5   Q. And is that kilograms?
02:22:50       6   A. Yes.
02:22:51       7   Q. Did you know how much -- how much cocaine the SUV had?
02:22:56       8   A. Yes.
02:22:57       9   Q. How much cocaine did the SUV have that first time?
02:23:00     10    A. 50.
02:23:03     11    Q. How do you know?
02:23:05     12    A. I seen them load it. I was there while Cesar was loading
02:23:10     13    it.
02:23:10     14    Q. Why were you going to meet the defendant at that location
02:23:13     15    with Cesar Perez?
02:23:19     16    A. Margarito, Peter, he called, and they told us to go meet,
02:23:27     17    load up 50, and go meet him.
02:23:29     18    Q. When you arrived at that location by the apartment
02:23:34     19    building on Madison and Monroe -- or near Madison and Monroe,
02:23:38     20    did you see the defendant?
02:23:40     21    A. Yes.
02:23:41     22    Q. Describe how you first saw the defendant.
02:23:48     23    A. White T-shirt, jeans, white shoes, gym shoes.
02:23:53     24    Q. Was he in a car when you first saw him?
02:23:55     25    A. No.
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02:23:55       1   Q. How was he?
02:23:56       2   A. Walking.
02:23:58       3   Q. Where did he walk to?
02:24:00       4   A. He walked toward us from the corner of the building.
02:24:03       5   Q. What, if anything, happened when he walked toward you --
02:24:06       6   after he walked towards you?
02:24:07       7   A. We gave him the keys to the vehicle.
02:24:10       8   Q. Once you gave him the keys to the vehicle, what, if
02:24:14       9   anything, did you and Cesar Perez then do?
02:24:16     10    A. Cesar got in the car with me, and we left.
02:24:22     11    Q. And to clarify, when you say Cesar got into the car with
02:24:26     12    you, had you driven a separate car?
02:24:29     13    A. Yes.
02:24:29     14    Q. What car had you driven?
02:24:31     15    A. A Cherokee.
02:24:32     16    Q. And how had you gotten to the location?
02:24:36     17    A. I followed him.
02:24:39     18    Q. (Indicating.)
02:24:40     19    A. I followed Cesar.
02:24:41     20    Q. Did the defendant say anything or did you hear the
02:24:43     21    defendant say anything when he approached the car that Cesar
02:24:48     22    was driving?
02:24:49     23    A. Try to be back fifteen minutes.
02:24:53     24    Q. Did the defendant come back?
02:24:56     25    A. Yes.
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02:24:57       1   Q. How long did it take for the defendant to come back?
02:25:02       2   A. About 30 minutes.
02:25:03       3   Q. What did you do in the meantime?
02:25:05       4   A. Drove around.
02:25:07       5   Q. How did you know to come back to that location?
02:25:12       6   A. Peter called us, told us to come back.
02:25:16       7   Q. How did Peter contact you?
02:25:17       8   A. Cellphone.
02:25:19       9   Q. When you came back to the fire station, what, if anything,
02:25:22     10    happened?
02:25:24     11    A. He gave us the keys and Cesar got in his car and we left.
02:25:29     12    Q. Did the defendant say anything when he came back?
02:25:32     13    A. No.
02:25:33     14    Q. Was the cocaine gone?
02:25:36     15    A. Yes.
02:25:36     16    Q. How do you know?
02:25:38     17    A. We went back to load up the vehicle to go see somebody
02:25:42     18    else.
02:25:42     19    Q. Did the defendant give you anything on that occasion?
02:25:46     20    A. No.
02:25:47     21    Q. Did you see him -- whether or not he gave anything to
02:25:50     22    Cesar Perez?
02:25:51     23    A. No.
02:25:51     24    Q. After that very first time at the area by the fire
02:25:56     25    station, did you meet with the defendant again at the fire
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02:25:59       1   station?
02:25:59       2   A. Yes.
02:26:00       3   Q. When was that?
02:26:03       4   A. A couple months later.
02:26:05       5   Q. Was anyone with you that time?
02:26:07       6   A. Danny Torres.
02:26:09       7   Q. That time at the fire station was anyone with you?
02:26:12       8   A. At the fire station?
02:26:14       9   Q. Yes.
02:26:14     10    A. Cesar was.
02:26:15     11    Q. Not the first time at the fire station. The second time
02:26:18     12    at the fire station, was anyone with you?
02:26:20     13    A. The second time?
02:26:21     14    Q. Yes.
02:26:21     15    A. Cesar, both times was Cesar.
02:26:25     16    Q. Cesar was with you both times?
02:26:28     17    A. Yeah.
02:26:28     18    Q. How did you know to meet the defendant there?
02:26:31     19    A. It's like the same place. He just tells you to go see a
02:26:35     20    person. And if it's a different place, then you go to a
02:26:37     21    different place. But if it's the same place, he tells you to
02:26:40     22    go to the same place.
02:26:42     23    Q. How did you get to the fire station that time?
02:26:45     24    A. Same way.
02:26:47     25    Q. Did you drive two cars or one car?
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02:26:49       1   A. Two cars.
02:26:51       2   Q. What, if anything, did you have in the SUV?
02:26:54       3   A. 50 kilos again, same thing.
02:26:57       4   Q. Was it in the car that you were driving?
02:26:59       5   A. Yes.
02:27:00       6   Q. Where was the kilograms of cocaine?
02:27:03       7   A. In the stash compartment.
02:27:07       8   Q. What happened when you got there?
02:27:08       9   A. Same thing, call Peter, he came out from the corner of the
02:27:14     10    building, gave him the keys, we left, said he'd be back in a
02:27:19     11    bit.
02:27:19     12    Q. Did he come back?
02:27:20     13    A. Yes.
02:27:21     14    Q. And when you say he, are you referring to the defendant?
02:27:23     15    A. Yes.
02:27:23     16    Q. How long did it take him to come back?
02:27:29     17    A. I don't remember. About the same time, I guess,
02:27:33     18    30 minutes.
02:27:33     19    Q. When he returned, what, if anything, did you do?
02:27:37     20    A. We left, got the keys from him, got in the vehicle, and
02:27:41     21    left.
02:27:41     22    Q. Was the cocaine still in the car?
02:27:43     23    A. No.
02:27:44     24    Q. Were there other locations besides -- or near the fire
02:27:49     25    station where you met the defendant to deliver cocaine?
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02:27:52       1   A. Yes.
02:27:53       2   Q. Was any of those locations outside the City of Chicago?
02:27:56       3   A. Yes.
02:27:57       4   Q. Where was that location?
02:27:59       5   A. By the pool hall.
02:28:05       6   Q. And where -- how did you get to the pool hall?
02:28:08       7   A. In the vehicle, same thing.
02:28:10       8   Q. Oh. In your SUV, what roads did you take?
02:28:14       9   A. I-55.
02:28:16     10    Q. How many times did you meet the defendant at the pool
02:28:19     11    hall?
02:28:20     12    A. Twice.
02:28:23     13    Q. Showing you now -- your Honor, may I publish photo --
02:28:28     14    Government Exhibit Photo 3, which is already in evidence?
02:28:30     15                THE COURT: You may.
02:28:35     16    BY MS. GUREN:
02:28:36     17    Q. Showing you on your screen Government Exhibit Photo 3, do
02:28:40     18    you recognize that photo?
02:28:41     19    A. Yes.
02:28:41     20    Q. What is that?
02:28:42     21    A. The pool house.
02:28:45     22    Q. The first time you went to the pool hall to meet the
02:28:48     23    defendant, was anyone with you?
02:28:50     24    A. Yes.
02:28:50     25    Q. Who was with you?
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02:28:51       1   A. Danny.
02:28:51       2   Q. How did you get to the pool hall?
02:28:57       3   A. I followed Danny there.
02:29:00       4   Q. What, if anything, was in -- was anything in your car?
02:29:03       5   A. In my car, no.
02:29:04       6   Q. Was anything in Danny Torres' car?
02:29:07       7   A. Yes.
02:29:07       8   Q. What was in Danny Torres' car?
02:29:09       9   A. 50.
02:29:10     10    Q. 50 what?
02:29:11     11    A. 50 kilos.
02:29:12     12    Q. Of what?
02:29:13     13    A. Cocaine.
02:29:14     14    Q. How did you know that?
02:29:17     15    A. I was there when he loaded it.
02:29:20     16    Q. How did you know to meet the defendant by the pool hall?
02:29:24     17    A. We didn't. Peter told us to get on I-55, get off on the
02:29:29     18    expressway and look for a spot to pull over and call when we
02:29:33     19    got there.
02:29:34     20    Q. And once you got off the expressway and looked for a spot,
02:29:37     21    what spot did you see?
02:29:39     22    A. We seen the billiard's and said we could go in there and
02:29:45     23    play a game of pool until he comes back with the vehicle, so
02:29:48     24    we picked that spot.
02:29:49     25    Q. Did you end up being able to play a game of pool?
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02:29:53       1   A. No.
02:29:53       2   Q. Why not?
02:29:54       3   A. Was closed.
02:29:55       4   Q. When you got there, was the defendant already at the
02:29:57       5   parking lot?
02:29:58       6   A. No.
02:29:59       7   Q. Did you see the defendant arrive?
02:30:01       8   A. Yes.
02:30:02       9   Q. How did he arrive?
02:30:05     10    A. In a vehicle.
02:30:07     11    Q. Do you remember what kind of vehicle?
02:30:13     12    A. It's a two-door silver car.
02:30:16     13    Q. Did the defendant say anything to you this time at the
02:30:19     14    pool hall?
02:30:22     15    A. He said he'd be back in a bit.
02:30:25     16    Q. What, if anything -- did the defendant leave?
02:30:30     17    A. Yes.
02:30:30     18    Q. How did he leave?
02:30:31     19    A. In Danny's -- the truck Danny was driving.
02:30:37     20    Q. How did he get Danny's car?
02:30:37     21    A. Danny gave him the keys.
02:30:39     22    Q. How long -- did the defendant end up returning?
02:30:41     23    A. Yes.
02:30:42     24    Q. How long was the defendant gone?
02:30:44     25    A. A little longer, about 40 minutes.
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02:30:47       1   Q. When he returned, what happened?
02:30:57       2   A. We left.
02:31:00       3   Q. What cars did you leave in?
02:31:02       4   A. Danny got in the vehicle, and he left. And I got in
02:31:06       5   mine -- I was still in mine, and we left.
02:31:08       6   Q. Do you know if the cocaine was still in Danny's car?
02:31:12       7   A. No, no, no, I didn't see that time.
02:31:17       8   Q. Do you know if anything new was in Danny's car?
02:31:21       9   A. No, not that time.
02:31:23     10    Q. Did you meet the defendant at the pool hall on another
02:31:27     11    occasion?
02:31:27     12    A. Yes.
02:31:28     13    Q. When was that?
02:31:30     14    A. Maybe a couple months later after that.
02:31:34     15    Q. Was anyone with you that time?
02:31:36     16    A. No.
02:31:37     17    Q. How did you know to meet the defendant there?
02:31:40     18    A. Peter told me.
02:31:41     19    Q. What, if anything, did you have in your car?
02:31:44     20    A. 50 kilos.
02:31:46     21    Q. Did you see the defendant when you arrived at the pool
02:31:50     22    hall?
02:31:50     23    A. Yes.
02:31:51     24    Q. Where was the defendant?
02:31:53     25    A. In his car.
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02:31:54       1   Q. What kind of car?
02:31:56       2   A. A silver Cherokee.
02:31:59       3   Q. Did he say anything to you?
02:32:01       4   A. Be back in a little bit.
02:32:04       5   Q. What, if anything, did you do?
02:32:06       6   A. He gave me the keys to his vehicle, and I took his
02:32:09       7   vehicle; he took mine.
02:32:10       8   Q. Did you end up returning to the parking lot?
02:32:14       9   A. No.
02:32:15     10    Q. Did he end up returning to the parking lot?
02:32:18     11    A. I don't -- I don't think so.
02:32:20     12    Q. What -- I guess that that is a bad question.
02:32:23     13                What did you do in the meantime -- what did you do
02:32:25     14    after you left the pool hall?
02:32:28     15    A. I left went about my business, driving around, went to a
02:32:32     16    store.
02:32:32     17    Q. Did you ever give the defendant's car back to him?
02:32:35     18    A. Yes.
02:32:36     19    Q. When was that?
02:32:37     20    A. A couple hours later.
02:32:39     21    Q. Where?
02:32:44     22    A. Same place.
02:32:44     23    Q. So back at the pool hall then?
02:32:46     24    A. Yeah.
02:32:46     25    Q. Did the defendant say anything to you?
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02:32:49       1   A. No.
02:32:50       2   Q. Was there -- did you check the trap to see if there was
02:32:54       3   still cocaine in that stash compartment?
02:32:56       4   A. I didn't check it until after Peter called me.
02:32:59       5   Q. When was -- when did Peter call you?
02:33:02       6   A. After I was -- when I was driving home.
02:33:04       7   Q. At that time did you check it?
02:33:07       8   A. No, actually, no. He called me. He told me that there's
02:33:11       9   something in there and go by Little Man's house. So I went to
02:33:14     10    Little Man's house, and then we opened it and opened the
02:33:17     11    compartment. There was money in there. Little Man took it
02:33:20     12    out.
02:33:20     13    Q. What did the money look like?
02:33:25     14    A. Bundles. It was like wrapped up in bundles, rubber bands.
02:33:31     15    Q. Could you estimate how much money was in there?
02:33:34     16    A. No.
02:33:35     17    Q. Did you end up counting the money that day?
02:33:38     18    A. No.
02:33:38     19    Q. Was there a third location that you would meet -- that you
02:33:41     20    met the defendant to deliver cocaine?
02:33:43     21    A. Just once.
02:33:44     22    Q. Where was that?
02:33:48     23    A. Downtown.
02:33:49     24    Q. Where specifically?
02:33:52     25    A. Off of 13th and Roosevelt.
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02:33:55       1   Q. Turning -- when was that?
02:33:58       2   A. 2007.
02:34:00       3   Q. Was there a season?
02:34:02       4   A. Winter.
02:34:06       5   Q. Showing you on your screen and in the folder Government
02:34:14       6   Exhibit Photo 10, do you recognize that photo?
02:34:16       7   A. Yes.
02:34:21       8   Q. Was that photo?
02:34:22       9   A. It's an apartment building we went to.
02:34:24     10    Q. Is that a fair and accurate representation of what that
02:34:27     11    apartment looked like?
02:34:28     12    A. Yes.
02:34:28     13                MS. GUREN: The Government would move into evidence
02:34:31     14    Government Exhibit Photo 10 and ask to publish.
02:34:33     15                THE COURT: It will be admitted. You can publish it.
02:34:36     16    BY MS. GUREN:
02:34:37     17    Q. Now, it looks like that intersection is 13th and Prairie.
02:34:39     18    Is that accurate as to where you met the defendant?
02:34:44     19    A. Yes.
02:34:46     20    Q. How did you know to meet the defendant at this specific
02:34:48     21    location?
02:34:49     22    A. Peter told -- called me, told me to meet him there.
02:34:53     23    Q. Did Peter instruct you on how much kilograms of cocaine to
02:34:57     24    bring?
02:34:57     25    A. Yeah. He told me to fit the most I could fit in there,
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02:35:03       1   and I could only fit 35.
02:35:05       2   Q. Did you -- when you arrived -- well, first of all, how did
02:35:12       3   you get to the location?
02:35:12       4   A. In the SUV.
02:35:13       5   Q. Where was the cocaine in the SUV?
02:35:15       6   A. In the stash compartment.
02:35:18       7   Q. When you arrived, did you see the defendant?
02:35:21       8   A. Yes.
02:35:21       9   Q. Where was the defendant?
02:35:22     10    A. He was in the lobby. He came out to the corner of the
02:35:26     11    building, got in the vehicle with me.
02:35:27     12    Q. What, if anything, did he do once he was in the vehicle
02:35:30     13    with you?
02:35:30     14    A. Told me to go around, go through the side door in the
02:35:33     15    garage. He opened the garage door and we drove up.
02:35:37     16    Q. Where did you drive up to?
02:35:38     17    A. I don't remember. He just told me to drive up in circles.
02:35:42     18    Q. And at some point what happened?
02:35:46     19    A. Pulled over in a spot, parking spot.
02:35:49     20    Q. Once you pulled over at the parking spot, what did you do?
02:35:52     21    A. I opened it up, took them out, put them in a duffle bag,
02:35:56     22    gave him the bag, closed the compartment, and left.
02:35:59     23    Q. Did the defendant say anything to you?
02:36:02     24    A. No.
02:36:04     25    Q. Did you ever deliver to the defendant again after this
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02:36:07       1   time in the winter of 2007?
02:36:09       2   A. No.
02:36:10       3   Q. Did you ever -- you had talked about delivering other
02:36:13       4   things to the defendant and you had talked about it being
02:36:17       5   cellphones. How many times did you deliver cellphones to the
02:36:20       6   defendant approximately?
02:36:21       7   A. Every other month, two months.
02:36:24       8   Q. Where did you meet the defendant to deliver cellphones to
02:36:27       9   him?
02:36:28     10    A. Anywhere, off a street corner.
02:36:32     11    Q. How did you know to meet him in these places?
02:36:35     12    A. Peter would tell me to go.
02:36:36     13    Q. When you would see the defendant, what types of cars was
02:36:39     14    the defendant driving?
02:36:42     15    A. Cars and SUVs.
02:36:45     16    Q. Were -- do you remember the models or anything about the
02:36:49     17    cars and SUVs?
02:36:50     18    A. A Mercedes McLaren, a Jeep Grand Cherokee, SRT8, silver
02:36:57     19    BMW, silver Dodge, Stratus.
02:37:06     20                MS. GUREN: May I have a moment, your Honor?
02:37:07     21                THE COURT: You may.
02:37:19     22                MS. GUREN: No further questions, your Honor.
02:37:22     23                THE COURT: Okay. Mr. Rubino, any cross?
02:37:24     24                MR. RUBINO: Yes, your Honor.
02:37:28     25                                         - - -
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02:37:28       1                     ANTONIO AGUILERA, CROSS-EXAMINATION
02:37:28       2   BY MR. RUBINO:
02:37:41       3   Q. Good afternoon, Mr. Torres -- or excuse me. Mr. Aguilera,
02:37:46       4   my mistake.
02:37:55       5               Sir, you are out on bond, are you not?
02:37:59       6   A. Yes.
02:38:01       7   Q. And during the period -- you've been out on bond ever
02:38:06       8   since this case began; is that correct?
02:38:08       9   A. Yes.
02:38:09     10    Q. And during the period you've been out on bond, have you
02:38:14     11    ever talked to Daniel Torres?
02:38:17     12    A. Yes.
02:38:18     13    Q. And have you ever talked to Cesar Perez?
02:38:21     14    A. Yes.
02:38:22     15    Q. And have you ever talked to Jorge Llamas?
02:38:27     16    A. No.
02:38:30     17    Q. Torres and Perez are friends of yours, are they not?
02:38:34     18    A. Yes.
02:38:36     19    Q. And how many times would you say you've talked to Torres
02:38:40     20    since you've been out on bond?
02:38:43     21    A. A couple.
02:38:44     22    Q. How about Perez?
02:38:47     23    A. Also a couple.
02:38:48     24    Q. Also a couple.
02:38:50     25                Now, you're not sitting here as a good citizen
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02:38:58       1   testifying to fight crime, are you?
02:39:00       2               MS. GUREN: Objection, your Honor, form.
02:39:01       3               THE COURT: Okay. Sustained.
02:39:04       4   BY MR. RUBINO:
02:39:05       5   Q. Tell us why you're sitting here testifying.
02:39:09       6   A. It's part of my agreement, to tell the truth.
02:39:12       7   Q. So you're here for no other reason in this world than to
02:39:16       8   tell the truth, right?
02:39:18       9   A. Well, to get a reduced sentence.
02:39:19     10    Q. You want to get something out of it, don't you?
02:39:24     11    A. (No response.)
02:39:25     12    Q. Do you?
02:39:25     13    A. Yeah.
02:39:26     14    Q. And what you want to get out of it is as little time in
02:39:30     15    prison as can be, correct?
02:39:32     16    A. Yes.
02:39:32     17    Q. You realize that all the drug dealing you did, the penalty
02:39:38     18    you're facing is a minimum of ten years and a maximum of life
02:39:43     19    in prison, don't you?
02:39:45     20    A. Yes.
02:39:46     21    Q. You certainly don't want to spend the rest of your life in
02:39:49     22    prison, do you?
02:39:51     23    A. Correct.
02:39:54     24    Q. And you don't want to spend 30 years or 20 years, if you
02:39:57     25    don't have to, do you?
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02:39:59       1   A. Yes.
02:39:59       2   Q. You want to cut your losses to as low as you can, don't
02:40:03       3   you?
02:40:03       4   A. Yes.
02:40:03       5   Q. And that's the only way you can do it, by coming in here
02:40:06       6   and testifying, isn't it?
02:40:08       7   A. I guess, yes.
02:40:09       8   Q. I couldn't hear your answer.
02:40:12       9   A. Yes.
02:40:17     10    Q. Now, have you been previously convicted of drugs?
02:40:29     11    A. No.
02:40:31     12    Q. You have an early marijuana case. You were not convicted
02:40:35     13    of that?
02:40:36     14                MS. GUREN: Objection, your Honor.
02:40:37     15                THE COURT: Sustained.
02:40:39     16                THE WITNESS: That was when I was young, yeah. There
02:40:42     17    was a couple joints. They told me I wasn't getting a
02:40:44     18    conviction.
02:40:44     19                MS. GUREN: Can the witness be instructed not to
02:40:46     20    answer?
02:40:46     21                THE COURT: Yes. Okay. The objection is sustained,
02:40:49     22    and you'll disregard his answer to that question.
02:40:53     23                And you don't need to answer the question regarding
02:40:55     24    that.
02:40:56     25                You can move on to something else.
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02:40:58       1   BY MR. RUBINO:
02:40:59       2   Q. Sir, you've been around drugs since a very young age,
02:41:02       3   haven't you?
02:41:03       4   A. Yes.
02:41:05       5   Q. And when you started working for the Flores brothers
02:41:10       6   delivering drugs, was that the first time you were involved in
02:41:14       7   drugs?
02:41:16       8   A. No.
02:41:19       9   Q. Tell us what you were doing with drugs before the Flores
02:41:24     10    brothers.
02:41:27     11    A. I don't know.
02:41:28     12    Q. (Indicating.)
02:41:29     13    A. I don't know. Nothing really.
02:41:31     14    Q. You don't know?
02:41:34     15    A. (No response.)
02:41:35     16    Q. Were you dealing drugs? Were you delivering drugs? Were
02:41:40     17    you selling drugs? What were you doing?
02:41:42     18    A. Nothing. I smoke, when I was freshman year, after that.
02:41:45     19    I mean, I know a lot of guys that sell drugs and buy drugs
02:41:50     20    from where I used to work at, you know, and they would always
02:41:53     21    ask me -- always see them doing deals in front of me, stuff
02:41:56     22    like that.
02:41:57     23    Q. Now, you said in 2004 you tried to get cocaine from the
02:42:01     24    Flores brothers for your own sales, remember that?
02:42:04     25    A. Yeah.
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02:42:04       1   Q. Who were you selling drugs to at that time?
02:42:08       2   A. Another person.
02:42:09       3   Q. (Indicating.)
02:42:10       4   A. Another person.
02:42:11       5   Q. Who was that person?
02:42:13       6   A. Derek.
02:42:14       7   Q. Eric who?
02:42:15       8   A. Derek, I said.
02:42:18       9   Q. Does he have a last name?
02:42:19     10    A. I don't know his last name.
02:42:21     11                MS. GUREN: Objection, your Honor.
02:42:23     12                THE COURT: Sustained on relevance.
02:42:25     13    BY MR. RUBINO:
02:42:26     14    Q. How long had you been selling him drugs?
02:42:28     15    A. I didn't sell him none.
02:42:34     16    Q. How many people had you delivered drugs to before you
02:42:37     17    started working for the Flores brothers?
02:42:40     18    A. None.
02:42:46     19    Q. You said you worked security for Cesar, correct?
02:42:52     20    A. Yes.
02:42:53     21    Q. Did you carry a gun in that security?
02:42:55     22    A. No.
02:42:56     23    Q. Did you carry any kind of weapon?
02:42:58     24    A. No.
02:43:02     25    Q. How many kilos a year would you deliver for the Flores
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02:43:09       1   brothers?
02:43:09       2   A. How many a year?
02:43:10       3   Q. Mm-hmm.
02:43:13       4   A. I don't know. A lot.
02:43:17       5   Q. Well, what's a lot to you?
02:43:20       6   A. Over a thousand.
02:43:27       7   Q. And you were paid $100 a kilo?
02:43:32       8   A. Yes.
02:43:33       9   Q. So that would mean you made at least a hundred thousand
02:43:37     10    dollars?
02:43:38     11    A. Yes.
02:43:38     12    Q. Not the $50,000 you told us, right?
02:43:40     13                MS. GUREN: Objection, foundation.
02:43:42     14                THE COURT: It's sustained for misstating the
02:43:44     15    evidence.
02:43:45     16    BY MR. RUBINO:
02:43:47     17    Q. Did you tell us that you made about $50,000 a year working
02:43:51     18    for the Flores?
02:43:54     19    A. Yes.
02:43:54     20    Q. You did tell us that?
02:43:55     21    A. Yes, I did.
02:43:56     22    Q. Okay. But if you delivered 100 -- or if you delivered a
02:44:03     23    thousand kilos a year, at $100 a kilo, wouldn't you have made
02:44:08     24    a hundred thousand a year?
02:44:10     25    A. I guess, yeah.
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02:44:19       1   Q. Now, you've identified Ron Collins. You've called him Ron
02:44:31       2   Ron, correct?
02:44:32       3   A. Correct.
02:44:33       4   Q. Did you ever call him Ronnie?
02:44:35       5   A. No.
02:44:35       6   Q. Do you know anybody named Ronnie?
02:44:38       7   A. Yes.
02:44:42       8   Q. You used to deliver drugs to somebody named Ronnie, didn't
02:44:46       9   you?
02:44:46     10                MS. GUREN: Objection, relevance.
02:44:47     11                THE COURT: Sustained.
02:44:48     12    BY MR. RUBINO:
02:44:48     13    Q. Did you ever deliver drugs to anyone's name was like Ron
02:44:55     14    Collins' name?
02:44:56     15    A. Yes.
02:44:56     16    Q. So the Flores brothers had other customers with similar
02:45:02     17    names to Ron Collins, didn't they?
02:45:04     18    A. Yes.
02:45:10     19    Q. Now, you have identified Ron Collins here in court,
02:45:24     20    correct?
02:45:25     21    A. Yes.
02:45:26     22    Q. And you've identified photos in court, have you not?
02:45:29     23    A. Yes.
02:45:32     24    Q. Was there a time before a federal grand jury where you
02:45:36     25    misidentified someone?
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02:45:37       1               MS. GUREN: Objection, your Honor, relevance.
02:45:40       2               MR. RUBINO: Goes to his --
02:45:42       3               THE COURT: Hold on. Hold on. Let's have a sidebar
02:45:44       4   on that.
02:45:45       5               Okay. Excuse me, folks.
02:45:45       6               (Whereupon the following discussion was had at the
02:46:07       7   bench, outside the hearing of the jury:)
02:46:07       8               THE COURT: Okay. Where are you headed?
02:46:09       9               MR. RUBINO: Okay. He testified at a federal grand
02:46:11     10    jury. He identified someone who's nickname was Old Boy. He
02:46:15     11    testified that person had delivered -- he had delivered to
02:46:18     12    this person as many as 50 kilos in five or ten times.
02:46:22     13                Then when confronted later, he said, Oh, I was wrong,
02:46:26     14    I identified the wrong person.
02:46:27     15                MS. GUREN: That's not exactly accurate.
02:46:30     16                THE COURT: Okay. Go ahead.
02:46:30     17                MS. GUREN: He was shown a picture of this -- he was
02:46:33     18    shown a picture and he identified the person -- he
02:46:36     19    misidentified a picture. However, his testimony was
02:46:39     20    consistent that this person Old Boy was who he delivered to.
02:46:43     21    Later he testified at a federal trial where he was able to
02:46:47     22    identify the person and he later correctly identified the
02:46:49     23    person by a photo.
02:46:50     24                THE COURT: Okay. Do I have this right? So he -- in
02:46:53     25    the grand jury he looks at the photo. He says, This is Old
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02:46:53       1   Boy.
02:46:56       2               MS. GUREN: Yes.
02:46:57       3               THE COURT: And Old Boy I distributed X number of
02:46:59       4   kilos to. So what was the mistake?
02:47:01       5               MS. GUREN: And the photo was not Old Boy.
02:47:03       6               THE COURT: Oh. And the photo was not Old Boy.
02:47:04       7   Okay.
02:47:05       8               MS. GUREN: Later on he did correctly identify Old
02:47:07       9   Boy from a photograph.
02:47:07     10                THE COURT: In the same grand jury?
02:47:08     11                MS. GUREN: Not in that same grand jury.
02:47:11     12                MS. RODNEY: If I could just add, your Honor, the
02:47:13     13    defendant delivered to two people who went by the nickname Old
02:47:15     14    Boy. And in the grand jury he identified the wrong Old Boy,
02:47:21     15    as who he delivered to five to ten times.
02:47:24     16                The other Old Boy went to trial and he correctly
02:47:27     17    identified him at trial.
02:47:28     18                THE COURT: Okay. So in the grand jury testimony,
02:47:31     19    when he looks at a picture and he misidentifies, is it ever
02:47:34     20    corrected in the grand jury testimony?
02:47:36     21                MS. RODNEY: No, it's corrected during a later
02:47:39     22    meeting --
02:47:39     23                THE COURT: Right.
02:47:40     24                MS. RODNEY: -- with agents.
02:47:41     25                THE COURT: Okay. Well, that's impeachable material,
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02:47:45       1   though, that he made the misidentification at that time and
02:47:47       2   then you can redirect to explain the difference between the
02:47:49       3   two.
02:47:50       4               But the point is, is that in the grand jury at one
02:47:52       5   point he falsely identified an individual that, you know,
02:47:56       6   later you can rehabilitate it, but that's fair impeachment.
02:48:00       7   Okay.
02:48:01       8               MR. RUBINO: Thank you, your Honor.
02:48:01       9               (End of sidebar discussion.)
02:48:20     10                THE COURT: Okay. You may continue.
02:48:22     11                MR. RUBINO: Thank you, your Honor.
02:48:22     12    BY MR. RUBINO:
02:48:23     13    Q. Sir, before we broke I asked you about someone you knew as
02:48:27     14    Old Boy, you remember that?
02:48:28     15    A. Yes.
02:48:30     16    Q. And do you remember testifying in a federal grand jury?
02:48:35     17    A. Yes.
02:48:38     18    Q. And at that grand jury did you either mistakenly or
02:48:41     19    intentionally misidentify the photograph of Old Boy?
02:48:45     20    A. Mistake.
02:48:47     21    Q. But you made a mistake and said someone had committed a
02:48:51     22    crime that they hadn't, correct?
02:48:54     23    A. Well, not really. There's two different people.
02:48:57     24    Q. Well, two different people, right?
02:48:59     25    A. Yes, two customers, the same name.
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02:49:02       1   Q. I understand.
02:49:03       2               Okay. Now, you told us that Ron Collins, you had
02:49:09       3   seen him driving a silver Cherokee, a silver Mercedes. What
02:49:14       4   color is the BMW?
02:49:16       5   A. Silver.
02:49:16       6   Q. Silver BMW, and a Dodge. Was that also silver?
02:49:21       7   A. (No response.)
02:49:22       8   Q. So you never saw him driving an Audi or an Infinity; is
02:49:28       9   that correct?
02:49:28     10    A. Not an Audi.
02:49:30     11    Q. I can't --
02:49:30     12    A. No.
02:49:31     13    Q. No.
02:49:33     14                So at no time did you meet with him when he was
02:49:38     15    driving an Audi or an Infinity, correct?
02:49:41     16    A. Correct.
02:49:43     17    Q. The times you claim that you met with him, what kind of --
02:49:47     18    you were driving an SUV. What kind of SUV?
02:49:49     19    A. It was -- mine?
02:49:52     20    Q. What were you driving when you claimed you met with Ron
02:49:56     21    Collins?
02:49:56     22    A. The first time, second time, third time?
02:49:59     23    Q. Go ahead. First time?
02:50:04     24    A. Pewter Trail Blazer.
02:50:06     25    Q. Second time?
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02:50:08       1   A. Pewter Trail Blazer.
02:50:10       2   Q. Third time?
02:50:11       3   A. Black Grand Cherokee.
02:50:13       4   Q. Fourth time?
02:50:14       5   A. Black Grand Cherokee.
02:50:16       6   Q. Fifth time?
02:50:17       7   A. Silver Grand Cherokee.
02:50:33       8   Q. Now, Mr. Torres you told us went with you, when you
02:50:41       9   claimed to have delivered to Ron Collins, correct?
02:50:44     10    A. Yes.
02:50:45     11    Q. On how many occasions did Mr. Torres go with you?
02:50:51     12    A. The first two times when I seen him.
02:50:53     13    Q. So two times Mr. Torres was side by side with you,
02:50:57     14    correct?
02:51:01     15    A. Two times we seen him at the pool hall, yeah.
02:51:05     16    Q. Okay.
02:51:07     17    A. Not side by side, but he was in my car.
02:51:08     18    Q. Yes.
02:51:09     19    A. Yeah.
02:51:10     20    Q. Now, did you tell us that -- Mr. Collins, you say, came
02:51:20     21    walking up to you, got the keys to your SUV, and drove it off.
02:51:28     22    That's what you've testified, is it not?
02:51:30     23    A. Yes.
02:51:31     24    Q. So Mr. Collins didn't come up in his own car and you
02:51:35     25    swapped keys?
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02:51:39       1   A. Only -- only one time.
02:51:42       2   Q. Which time was that?
02:51:44       3   A. The fourth time.
02:51:46       4   Q. The fourth time?
02:51:48       5   A. Yeah.
02:51:49       6   Q. So when you were with -- the two times you were with
02:51:53       7   Mr. Torres, Mr. Collins came walking up to you, correct?
02:52:01       8   A. Yeah.
02:52:02       9   Q. Yes?
02:52:02     10                MS. GUREN: Your Honor, can we lay a little bit more
02:52:04     11    foundation about where?
02:52:05     12                THE COURT: Okay. Objection to foundation is
02:52:08     13    granted.
02:52:10     14                MR. RUBINO: I have nothing further.
02:52:11     15                THE COURT: Oh, okay.
02:52:12     16                MR. RUBINO: I'm good.
02:52:12     17                                         - - -
02:52:12     18                    ANTONIO AGUILERA, REDIRECT EXAMINATION
02:52:12     19    BY MS. GUREN:
02:52:19     20    Q. Mr. Aguilera, just to clarify, the first time that you
02:52:22     21    went to the pool hall parking lot to meet the defendant?
02:52:27     22    A. Yes.
02:52:28     23    Q. Who was with you?
02:52:29     24    A. Danny.
02:52:30     25    Q. Danny.
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02:52:30       1               And when you were saying that the defendant walked up
02:52:34       2   to you, how had he -- how did you see him get to the pool
02:52:37       3   hall?
02:52:38       4   A. In his vehicle.
02:52:39       5   Q. What happened to his vehicle?
02:52:41       6   A. He parked it, got out, and walked to me.
02:52:45       7   Q. And then what did you and Danny do?
02:52:47       8   A. Got out of the vehicle, came -- gave him keys to my
02:52:52       9   vehicle and he left, we got in his vehicle and we left.
02:52:55     10    Q. Did you also meet the defendant at the pool hall by
02:52:58     11    yourself?
02:52:58     12    A. Yes.
02:52:59     13    Q. And when that happened, how did the defendant arrive at
02:53:02     14    the pool hall parking lot?
02:53:04     15    A. In the vehicle.
02:53:06     16    Q. And what happened in that vehicle? What happened to that
02:53:09     17    vehicle?
02:53:10     18    A. Which time?
02:53:12     19    Q. That time you were alone in the pool hall.
02:53:15     20    A. Oh, the time that I was alone, I took his car. The
02:53:21     21    second --
02:53:21     22    Q. And so did you swap keys that time?
02:53:24     23    A. Yeah.
02:53:24     24    Q. Going --
02:53:24     25    A. The other times we just give him the keys.
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02:53:24       1   Q. I'm sorry? Say it again?
02:53:25       2   A. The other times I just give him the keys. If he's taking
02:53:29       3   the vehicle, then we just give him the keys. If he's giving
02:53:33       4   us, like we need a ride back home, we're by ourselves, then he
02:53:38       5   gives us keys to his vehicle.
02:53:38       6   Q. So you would only take his car when you needed a car to
02:53:41       7   leave?
02:53:42       8   A. Yes.
02:53:42       9   Q. So, for example, when you went with Danny Torres, you went
02:53:45     10    in two vehicles?
02:53:46     11    A. Yes.
02:53:46     12    Q. So you had a vehicle to leave?
02:53:48     13    A. Yes.
02:53:48     14    Q. Turning back to around the fire station, did you swap
02:53:53     15    vehicles with the defendant then?
02:53:56     16    A. No.
02:53:57     17    Q. And is that because you also arrived in two vehicles?
02:54:00     18    A. Yes.
02:54:04     19    Q. Just to clarify, there was some questions to you about
02:54:09     20    sales before you started working with the Flores brothers of
02:54:13     21    cocaine.
02:54:14     22    A. Yes.
02:54:15     23    Q. Did you try to get cocaine from the Flores brothers before
02:54:17     24    you started working for them?
02:54:19     25    A. Yes.
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02:54:19       1   Q. Did they ever actually give you cocaine to sell?
02:54:22       2   A. No.
02:54:25       3   Q. You were asked some questions about a photograph that you
02:54:28       4   identified in the grand jury.
02:54:31       5   A. Yes.
02:54:31       6   Q. You started to say that there were two customers?
02:54:35       7   A. Yes.
02:54:36       8   Q. What were the nicknames that you knew those two customers
02:54:39       9   by?
02:54:39     10    A. Old Boy.
02:54:41     11    Q. Did they have the same nickname?
02:54:44     12    A. Yes.
02:54:44     13    Q. Were they two different customers?
02:54:46     14    A. Yes.
02:54:46     15    Q. When you were testifying, did the testimony you had given
02:54:52     16    the grand jury about one of the customers, Old Boy, was that
02:54:52     17    true?
02:54:53     18    A. Yes.
02:54:54     19    Q. Were there ever two customers named Ron Ron?
02:54:58     20    A. No.
02:55:06     21                MS. GUREN: One moment, your Honor?
02:55:07     22                THE COURT: Sure.
02:55:10     23                MS. GUREN: No further questions.
02:55:11     24                THE COURT: Okay. Anything for you, sir?
02:55:13     25                MR. RUBINO: No, your Honor.
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02:55:13       1               THE COURT: Okay. Sir, you may step down and be
02:55:17       2   excused.
02:55:19       3               (Witness leaves the stand.)
02:55:19       4               THE COURT: And you can call your next witness.
02:55:19       5               MS. GUREN: Your Honor, the Government calls Matt
02:55:21       6   McCarthy.
02:55:22       7               THE COURT: Okay.
02:55:43       8               (Witness takes the stand.)
02:55:44       9               THE COURT: Please raise your right hand.
02:55:47     10                (The witness was sworn.)
02:55:51     11                THE COURT: Okay. Have a seat.
02:55:51     12                                         - - -
02:55:51     13                     MATTHEW McCARTHY, DIRECT EXAMINATION
02:55:51     14    BY MS. GUREN:
02:55:59     15    Q. Good afternoon.
02:56:00     16    A. Good afternoon.
02:56:01     17    Q. Can you introduce yourself and spell your last name for
02:56:04     18    the jury?
02:56:04     19    A. Sure. My name is Matthew McCarthy, that's
02:56:09     20    M-c-C-a-r-t-h-y. I'm a special agent with the Drug
02:56:13     21    Enforcement Administration, currently assigned to the
02:56:14     22    Milwaukee district office.
02:56:19     23    Q. So you've come down from Milwaukee today?
02:56:21     24    A. Yes.
02:56:21     25    Q. How long have you worked with DEA?
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02:56:23       1   A. A little over eight years.
02:56:25       2   Q. What are your responsibilities there?
02:56:27       3   A. I investigate violations of state and federal drug laws.
02:56:31       4   Q. Did you receive any training as part of becoming an agent?
02:56:34       5   A. Yes, I did.
02:56:35       6   Q. What training was that, just briefly?
02:56:38       7   A. At Quantico with the Drug Enforcement Administration
02:56:41       8   academy, basic instruction into investigations and the like.
02:56:48       9   Q. Before becoming a special agent with the DEA, what was
02:56:51     10    your job?
02:56:52     11    A. I was a Deputy U.S. Marshal.
02:56:54     12    Q. Where were you assigned?
02:56:56     13    A. I was assigned to Superior Court in Washington, D.C. for
02:57:00     14    approximately a little over eighteen months.
02:57:02     15    Q. Before that did you have -- what types of jobs did you
02:57:05     16    have?
02:57:05     17    A. And before that pretty much from my previous professional
02:57:10     18    life I was a reporter. I worked as a sports anchor and a
02:57:14     19    sport -- and a news anchor for an NBC affiliate in West
02:57:20     20    Virginia. I did that for about ten years.
02:57:21     21                MS. GUREN: Your Honor, permission to publish
02:57:23     22    Government Exhibit Photo 1?
02:57:24     23                THE COURT: Sure.
02:57:37     24    BY MS. GUREN:
02:57:37     25    Q. Showing you Government Exhibit Photo 1, do you recognize
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02:57:41       1   this individual?
02:57:42       2   A. Yes.
02:57:42       3   Q. Who is this?
02:57:44       4   A. I believe that is Pedro Flores.
02:57:51       5               MS. GUREN: Your Honor, permission to publish
02:57:53       6   Government Exhibit Photo 2?
02:57:54       7               THE COURT: Yes.
02:57:55       8   BY MS. GUREN:
02:57:56       9   Q. Showing you Government Exhibit Photo 2, do you recognize
02:57:57     10    that photo?
02:57:58     11    A. Yes, I believe that is Margarito Flores.
02:58:00     12    Q. Turning to around November and December of 2008, what, if
02:58:08     13    anything, was your role in an investigation involving Pedro
02:58:11     14    and Margarito Flores?
02:58:16     15    A. Well, they were --
02:58:19     16    Q. Just briefly, what was your role, in terms of other
02:58:22     17    agents?
02:58:23     18    A. Well, part of the role I had with them was I was along
02:58:28     19    with them conducting controlled calls to their drug customers.
02:58:37     20    So I -- as part of that, I was recording calls and I was
02:58:41     21    also -- I had possession of telephones.
02:58:43     22    Q. And just to back up a minute, are you familiar with the
02:58:46     23    term case agent?
02:58:47     24    A. Yes.
02:58:47     25    Q. What is a case agent?
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02:58:49       1   A. A case agent is an individual who essentially runs an
02:58:54       2   investigation.
02:58:56       3   Q. And was that part of your role in this general
02:59:00       4   investigation?
02:59:00       5   A. Yes.
02:59:01       6   Q. When you talked about recording calls, was that -- where
02:59:05       7   did that take place?
02:59:06       8   A. That was in Milwaukee and in Chicago.
02:59:10       9   Q. And was that in December of 2008?
02:59:14     10    A. Yes.
02:59:14     11    Q. Turning your attention to the end of November 2008 --
02:59:18     12    A. Okay.
02:59:18     13    Q. -- and the beginning of December, did you see Pete and
02:59:21     14    Margarito Flores in person?
02:59:22     15    A. Yes.
02:59:23     16    Q. And in what country was that?
02:59:25     17    A. That was in Mexico.
02:59:26     18    Q. What, if anything, did Pete Flores give you?
02:59:31     19    A. He gave me -- essentially had a student backpack. It was
02:59:34     20    just a typical backpack. And it contained telephones,
02:59:38     21    telephone chargers, and the multi-plugs [sic], where you plug
02:59:44     22    into the wall and then you have five, six, seven different
02:59:47     23    plugs that you can plug into.
02:59:48     24    Q. How did these cellphones look?
02:59:51     25    A. Just a variety of different cellphones, all makes and
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02:59:54       1   models.
02:59:55       2   Q. When did you leave Mexico, what date?
02:59:59       3   A. I believe it was the -- I believe it was the last day of
03:00:03       4   November of 2008.
03:00:04       5   Q. What, if anything, did you do with the phones when you
03:00:06       6   left Mexico?
03:00:07       7   A. They were in my possession.
03:00:09       8   Q. At some point did you give the phones to anyone else?
03:00:14       9   A. Approximately one week later I did, correct, yes.
03:00:17     10    Q. Approximately one week later, who did you give the
03:00:20     11    cellphones to?
03:00:21     12    A. Eric Durante.
03:00:25     13    Q. I'm going to hand you what's been marked as Government
03:00:30     14    Exhibit Phone 1 and just ask you to take a look at that. Do
03:00:41     15    you recognize Government Exhibit Phone 1?
03:00:43     16    A. Yes.
03:00:43     17    Q. What is it?
03:00:44     18    A. That's a -- it's a cellphone, a Nokia cellphone, one of
03:00:48     19    the phones I received from Pedro Flores.
03:00:51     20    Q. How do you recognize it as one of the phones you received
03:00:54     21    from Pedro Flores?
03:00:55     22    A. Well, it -- the way it looked with the silver top, Nokia.
03:01:00     23    I just remember it.
03:01:01     24    Q. And is it in substantially the same condition in which you
03:01:05     25    gave the phone to Agent Durante?
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03:01:08       1   A. Yes, other than there may have been a sticker on the back
03:01:14       2   of it, but, yes, it looks exactly the same.
03:01:17       3   Q. And with regard to the phone -- your Honor, at this time
03:01:22       4   we would move Government Exhibit Phone 1 into evidence?
03:01:25       5               THE COURT: Okay. It will be admitted.
03:01:30       6               MS. GUREN: One moment, your Honor.
03:01:44       7               No further questions, your Honor.
03:01:48       8               THE COURT: Okay.
03:01:48       9                                        - - -
03:01:48     10                      MATTHEW McCARTHY, CROSS-EXAMINATION
03:01:48     11    BY MR. RUBINO:
03:01:50     12    Q. Good afternoon, Agent.
03:01:52     13    A. Good afternoon, sir.
03:01:56     14    Q. Sir, you told us that you went to Mexico, correct?
03:02:04     15    A. That's correct.
03:02:05     16    Q. In when? When did you arrive in Mexico?
03:02:09     17    A. Late November 2008.
03:02:13     18    Q. Can you give me a better time than late November? Was it
03:02:18     19    before or after Thanksgiving?
03:02:19     20    A. It was after. Approximately the -- perhaps the 28th
03:02:23     21    or 29th.
03:02:24     22    Q. And what was your purpose in going there?
03:02:28     23                MS. GUREN: Objection, your Honor. May we have a
03:02:30     24    brief sidebar?
03:02:32     25                THE COURT: Okay.
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03:02:33       1               (Whereupon the following discussion was had at the
03:02:50       2   bench, outside the hearing of the jury:)
03:02:50       3               MS. GUREN: Your Honor, how exactly they got out --
03:02:53       4   the twins got out of Mexico has been something that we have
03:02:56       5   been trying.
03:02:57       6               MR. RUBINO: I'm sorry. I didn't hear. I couldn't
03:02:58       7   hear you.
03:02:59       8               MS. GUREN: How exactly the twins got out of Mexico
03:03:01       9   has been something that we have been trying to keep off the
03:03:03     10    record of this trial. I believe it's beyond the scope of this
03:03:07     11    examination, but it is not fully disclosed that -- how -- the
03:03:13     12    nature of how the twins left Mexico.
03:03:16     13                THE COURT: But does this question call for that
03:03:18     14    answer --
03:03:18     15                MS. GUREN: Yes.
03:03:18     16                THE COURT: Why did you go there?
03:03:20     17                MR. RUBINO: Why did you go there?
03:03:21     18                MS. GUREN: He went there ...
03:03:24     19                THE COURT: Oh, to help them out or something?
03:03:25     20                MS. GUREN: Yeah.
03:03:25     21                THE COURT: Oh.
03:03:26     22                MR. RUBINO: I didn't ask him how, whether he went
03:03:28     23    out on some secret jet or --
03:03:30     24                THE COURT: No, but he was directed by the Government
03:03:32     25    to go down to Mexico to get them out.
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03:03:34       1               MR. RUBINO: But you can't -- the Government can't
03:03:36       2   just, you know, open the door a bit and then not expect me to
03:03:39       3   want to walk through it.
03:03:40       4               I mean, the testimony is that he went to Mexico.
03:03:42       5   Now, he got phones. Now, I need to know -- I have the right,
03:03:46       6   I believe, to find out the details --
03:03:47       7               THE COURT: Well, I think what would be appropriate
03:03:50       8   is for a limited response where they could say -- I think I
03:03:53       9   would give you a minute to talk to him to say that he went
03:03:56     10    there at the Government's direction. Because isn't that
03:04:00     11    really what you want? It gives you the impeachment, but not
03:04:04     12    to go into the superfluous issue as to how others were
03:04:07     13    extracted from Mexico, right?
03:04:09     14                MR. RUBINO: Well, how they got back -- if you're
03:04:11     15    worried about I'm going to ask whether he took a train, a
03:04:15     16    plane, a bus, or a boat, I don't care. I'm more interested in
03:04:18     17    his -- he's down there. He is a drug dealer --
03:04:21     18                THE COURT: Cooperating with the Government, right?
03:04:23     19                MR. RUBINO: Well, I don't know that yet --
03:04:24     20                THE COURT: No, no. Hold on.
03:04:25     21                MR. RUBINO: I'm sorry.
03:04:25     22                THE COURT: Take it easy.
03:04:27     23                No. The point, though, is that what you want, which
03:04:31     24    is impeachable, is that he went down there in the first place
03:04:35     25    at their direction; isn't that right?
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03:04:36       1               MR. RUBINO: At the government's direction, of
03:04:38       2   course.
03:04:38       3               THE COURT: Right.
03:04:38       4               MR. RUBINO: Well, he may not have went at their
03:04:39       5   direction. He could have went at his own. He was the case
03:04:40       6   agent. He had the right to do that.
03:04:43       7               But I'm more interested -- what I'm heading for --
03:04:46       8   and I'll be honest with you up front here instead of later.
03:04:49       9               THE COURT: Sure, go ahead.
03:04:49     10                MR. RUBINO: What I'm heading for is how is he
03:04:52     11    contacted -- did he contact the Floreses? Did they contact
03:04:56     12    him? What kind of an agreement did he make? Were they
03:04:57     13    getting some sort of immunity to meet with him, to talk to
03:05:00     14    him. The whole thing. I want to open it up --
03:05:03     15                THE COURT: Okay. For what reason?
03:05:03     16                MR. RUBINO: Because I think it's important --
03:05:05     17                THE COURT: To what?
03:05:06     18                MR. RUBINO: -- that we're coming in -- we're going
03:05:08     19    to -- the Government's going to put in tape recordings made by
03:05:10     20    the Floreses.
03:05:12     21                THE COURT: Right.
03:05:13     22                MR. RUBINO: Now, the Floreses, have they received
03:05:15     23    some immunity from the Government? He may know if they have
03:05:17     24    or not. Have they made some kind of deal with the Government?
03:05:20     25    He may know. They have obviously met and been debriefed by
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03:05:23       1   the Government, so they in some way waived some constitutional
03:05:26       2   rights in order to do that.
03:05:27       3               I don't know what promises were made to Floreses, if
03:05:31       4   any. He would know. He met with them.
03:05:32       5               THE COURT: Right. However, then you could ask him
03:05:35       6   those questions directly. When you met with them, were -- did
03:05:39       7   you provide them with --
03:05:40       8               MR. RUBINO: Exactly.
03:05:41       9               THE COURT: -- benefits or promises of leniency or
03:05:44     10    whatever? Because the people that are important for
03:05:47     11    cross-examining on that issue are either the Flores
03:05:50     12    brothers --
03:05:50     13                MR. RUBINO: Which I don't have.
03:05:51     14                THE COURT: -- or whether he gave that.
03:05:52     15                So I think we're kind of skirting around what you
03:05:56     16    need and what you're entitled to and what is really a frolic
03:06:01     17    and detour, which would go off on a prejudicial angle.
03:06:05     18                So his purpose in going down to Florida [sic], you're
03:06:08     19    saying, was to aid in the removal of these individuals, which
03:06:13     20    is confidential to the extent that you are trying to keep that
03:06:17     21    option available or whatever --
03:06:19     22                MR. RUBINO: I don't need that.
03:06:21     23                MS. GUREN: Exactly.
03:06:21     24                THE COURT: -- so we don't need to go there.
03:06:24     25                MS. GUREN: But the cooperation --
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03:06:25       1               THE COURT: Right.
03:06:25       2               MS. GUREN: -- we have no objection to him asking
03:06:27       3   about the promises directly.
03:06:29       4               THE COURT: Right. So why don't we just cut right to
03:06:31       5   the chase then --
03:06:31       6               MR. RUBINO: Sure.
03:06:32       7               THE COURT: -- and then have him -- you can just ask
03:06:34       8   him about, Now, you had a working relationship, I suppose,
03:06:38       9   with these individuals. Did you give them offers of leniency?
03:06:43     10    Did you give them benefits? Whatever it is, because he has to
03:06:45     11    answer those questions, and then you don't worry about --
03:06:49     12                MR. RUBINO: Yeah, I don't care --
03:06:51     13                MS. GUREN: That was exactly our issue.
03:06:52     14                THE COURT: Okay.
03:06:52     15                MR. RUBINO: That's not where I'm heading.
03:06:54     16                THE COURT: All right. Fine. Thanks.
03:07:15     17                (End of sidebar discussion.)
03:07:15     18                THE COURT: Okay. You may proceed, sir.
03:07:17     19                MR. RUBINO: Thank you, your Honor.
03:07:17     20    BY MR. RUBINO:
03:07:18     21    Q. Sir, the Flores brothers, who have been identified by
03:07:21     22    photographs by yourself, that you went down to -- where in
03:07:24     23    Mexico did you go?
03:07:28     24    A. Well, we eventually picked them up in Guadalajara.
03:07:32     25    Q. Guadalajara. Not in Monterrey?
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03:07:35       1   A. No.
03:07:35       2   Q. Okay. So those Flores brothers that we're talking about,
03:07:38       3   these are major drug dealers, right?
03:07:41       4   A. Yes.
03:07:41       5   Q. So you went to Mexico to meet with two major drug dealers,
03:07:47       6   correct?
03:07:48       7   A. Correct.
03:07:48       8   Q. Who set this up? How did that occur? Who set that
03:07:53       9   meeting up?
03:07:55     10    A. It was -- I mean, it took over the course of several
03:07:59     11    months. It was set up essentially by the U.S. Attorney's
03:08:06     12    Office in Wisconsin and with the Flores twins, with their
03:08:11     13    representatives and --
03:08:13     14    Q. What I'm getting at is --
03:08:14     15    A. Okay.
03:08:15     16    Q. -- I think it's obvious, and correct me if I'm wrong, you
03:08:17     17    didn't just fly down to Mexico, get in a cab, and go over to
03:08:21     18    the Flores brothers' house and knock on the door and say, Hi,
03:08:24     19    I'd like to interview you, did you?
03:08:26     20    A. No, I didn't.
03:08:27     21    Q. This is something that had been arranged, as you now tell
03:08:31     22    me, over a couple of months?
03:08:32     23    A. Yes.
03:08:32     24    Q. Okay. Now, during those -- and it had been arranged by
03:08:36     25    law enforcement, of course?
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03:08:37       1   A. Yes, yes.
03:08:37       2   Q. Of course, I understand that.
03:08:38       3   A. By case agents and --
03:08:40       4   Q. Right.
03:08:40       5               Now, you said you were, in fact, the case agent,
03:08:43       6   correct?
03:08:43       7   A. I was one of them.
03:08:45       8   Q. Okay. Were you the one who made first contact with the
03:08:49       9   Flores brothers?
03:08:49     10    A. No.
03:08:50     11    Q. Who was that?
03:08:56     12    A. Well, initially it was a -- just a separate -- a different
03:09:00     13    agent from the Chicago Field Division, and I honestly can't
03:09:03     14    recall the name, but essentially it did come to me.
03:09:07     15    Q. Okay. Did the agent contact the Flores brothers or did
03:09:13     16    the Flores brothers contact the agent? The initial contact,
03:09:16     17    first contact, we'll call it.
03:09:18     18    A. The Flores brothers contacted their attorney, who then in
03:09:23     19    turn contacted DEA.
03:09:25     20    Q. Okay. And that would have been as early as when?
03:09:33     21    A. Perhaps April of 2008 or even, you know, sometime in the
03:09:38     22    spring of 2008.
03:09:40     23    Q. Okay. Now, were any meetings had prior to the meeting you
03:09:49     24    have talked about --
03:09:50     25    A. Yes.
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03:09:50       1   Q. -- with the Flores brothers in Mexico?
03:09:52       2   A. Yes.
03:09:53       3   Q. Okay. With law enforcement, is what I'm --
03:09:56       4   A. Yes.
03:09:56       5   Q. Okay. When is the first time law enforcement went to
03:09:59       6   Mexico and met with the Flores brothers?
03:10:01       7               MS. GUREN: Objection, your Honor. If we could just
03:10:03       8   have foundation as to whether or not this agent was at those
03:10:06       9   meetings.
03:10:06     10                THE COURT: Okay. That's sustained to foundation.
03:10:10     11    Who was present?
03:10:12     12    BY MR. RUBINO:
03:10:13     13    Q. Okay. Who was present at the first meeting?
03:10:17     14    A. I was present, another agent from the Milwaukee office,
03:10:23     15    Jill Sorin (phonetic), an agent in Monterrey, Mexico.
03:10:32     16    Q. An American agent?
03:10:33     17    A. Yes.
03:10:33     18    Q. Okay.
03:10:34     19    A. Assigned to the Monterrey office. And I believe an ATF
03:10:40     20    agent in Monterrey, as well, at that time.
03:10:43     21    Q. Okay. So the first meeting was in the spring, probably
03:10:46     22    April --
03:10:47     23    A. No.
03:10:47     24    Q. I'm sorry.
03:10:48     25    A. No, the first meeting -- we had multiple phone calls over
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03:10:52       1   the course of several months.
03:10:53       2   Q. Okay. First --
03:10:54       3   A. The first in-person meeting, I believe, was August 6th of
03:10:58       4   2008 in Monterrey, Mexico, and that was those individuals I
03:11:03       5   just mentioned, myself, Agent Sorin.
03:11:07       6   Q. Okay. Let's try chronologically.
03:11:10       7   A. Okay.
03:11:10       8   Q. First contact -- and I may be confusing you using the word
03:11:13       9   contact and meeting, and I don't mean to be.
03:11:15     10    A. Okay.
03:11:16     11                MS. GUREN: Objection, your Honor. I just think the
03:11:17     12    defense attorney needs to clarify with questions whether or
03:11:20     13    not this agent has personal knowledge of these individual
03:11:22     14    occurrences.
03:11:23     15                THE COURT: Okay. It's overruled, because he just
03:11:25     16    answered for the first meeting that he was present. So for
03:11:29     17    that one he can answer.
03:11:30     18    BY MR. RUBINO:
03:11:31     19    Q. Okay. Let's talk about the first contact.
03:11:32     20                First contact --
03:11:34     21    A. Okay.
03:11:34     22    Q. -- was done by -- the Flores brothers' attorney contacted
03:11:38     23    the DEA, correct?
03:11:39     24    A. Yes.
03:11:40     25    Q. Okay. Then there were subsequent phone conversations --
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03:11:45       1   A. Yes.
03:11:45       2   Q. -- between law enforcement personnel?
03:11:48       3   A. Yes.
03:11:48       4   Q. And the Flores brothers?
03:11:50       5   A. Yes.
03:11:50       6   Q. Am I correct?
03:11:51       7   A. That's correct.
03:11:52       8   Q. Did you participate in any --
03:11:54       9   A. Yes, I did.
03:11:55     10    Q. That was going to be my question.
03:11:57     11                You actually did participate?
03:11:58     12    A. Yes, I did.
03:11:58     13    Q. So you were the guy, so to speak, who was dealing with
03:12:02     14    them; is that fair?
03:12:04     15    A. Yes.
03:12:04     16    Q. Good.
03:12:05     17                Approximately how many times had you spoken to the
03:12:08     18    Flores brothers before the first face-to-face meeting, which I
03:12:13     19    think you said was on August 6th; am I right?
03:12:17     20    A. Yes.
03:12:17     21    Q. Okay.
03:12:17     22    A. First face-to-face was August 6th.
03:12:20     23    Q. Okay. The question is, how many times did you talk to
03:12:22     24    them, between the spring -- which I think you said was April
03:12:26     25    about -- when you first made contact, how many phone calls?
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03:12:29       1   A. Five to ten.
03:12:30       2   Q. Okay. And what was the substance of those phone calls?
03:12:37       3   A. Essentially they were -- at the time they were -- they're
03:12:46       4   indicted out of the Milwaukee -- out of the Eastern District
03:12:50       5   of Wisconsin.
03:12:51       6   Q. When were they indicted, sir, about?
03:12:55       7   A. (No response.)
03:12:56       8   Q. Prior to April?
03:12:57       9   A. Yeah. It was in approximately 2003 or ...
03:12:59     10    Q. Oh, okay. Before April?
03:13:02     11    A. Yes.
03:13:02     12    Q. That would clearly make them federal fugitives, wouldn't
03:13:04     13    it?
03:13:05     14    A. Yes.
03:13:05     15    Q. Okay. Go ahead, sorry. So now --
03:13:08     16    A. And then essentially until we met them face-to-face, it
03:13:14     17    was -- I guess, you could say it was a feeling-out process,
03:13:16     18    because they were looking to come back to the United States.
03:13:20     19    They knew that there is a federal indictment over their head,
03:13:23     20    and they are coming back, but -- and they want to -- you know,
03:13:30     21    they are looking for reassurances from us and at the same time
03:13:33     22    we're -- you know, we want them to come back to the United
03:13:36     23    States. So there's sort of a negotiation going on.
03:13:39     24    Q. Now, do you have -- does your agency have cooperation with
03:13:42     25    the Mexican government?
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03:13:45       1   A. I believe so, yes.
03:13:46       2   Q. Well, you knew the location --
03:13:50       3   A. No, we did not know the location at the time.
03:13:52       4   Q. Well, at the meeting you did, of course?
03:13:55       5   A. (No response.)
03:13:56       6   Q. The meeting you knew the location of two federal
03:13:58       7   fugitives. You knew you were going to meet them in person,
03:14:01       8   did you not?
03:14:02       9   A. Yes.
03:14:02     10    Q. Okay. Why were they not arrested at that time?
03:14:13     11    A. Essentially it was part of the negotiation, I guess you
03:14:16     12    could say.
03:14:16     13    Q. Okay. Now, were they asked in the phone calls -- because
03:14:22     14    you participated in the phone calls, correct?
03:14:24     15    A. Right.
03:14:25     16    Q. Were they asked in good faith -- if they wanted to enter
03:14:30     17    into an agreement with you folks -- were they asked in good
03:14:35     18    faith to stop their drug dealing, or were they allowed to
03:14:38     19    continue their drug dealing?
03:14:39     20    A. They were not allowed to continue. We didn't have control
03:14:42     21    of them at that time.
03:14:43     22    Q. Did you know they were drug dealing after April?
03:14:48     23    A. Yeah, they were -- yes, they were.
03:14:51     24    Q. So they are down there. While they are talking to you
03:14:56     25    trying to come back, they are also dealing drugs at the same
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03:14:59       1   time, you're telling me?
03:15:01       2   A. That's correct. They were still fugitives. We did not
03:15:04       3   know where they were.
03:15:05       4   Q. I understand.
03:15:05       5   A. Okay.
03:15:05       6   Q. Well, you obviously knew where they were when you met them
03:15:08       7   in person?
03:15:09       8   A. In August, yeah. But you're talking about the telephone
03:15:12       9   calls.
03:15:13     10    Q. Okay. And did you ask them during the phone calls to
03:15:16     11    cease their drug activities while you negotiated?
03:15:24     12    A. I don't recall.
03:15:26     13    Q. Would you have done that or would you not care if they
03:15:29     14    continued dealing drugs during this call? I mean, they are
03:15:34     15    sending drugs to the United States, aren't they?
03:15:39     16    A. I mean -- I don't recall that. What essentially the
03:15:47     17    conversations were, were they -- they were explaining
03:15:51     18    essentially what their value could be to us and us explaining
03:15:55     19    to them why it was important for them to turn themselves in.
03:15:58     20    Q. Were they valuable enough to you to let them continue
03:16:02     21    dealing drugs? Were they that valuable?
03:16:04     22    A. They weren't in our control. We couldn't stop them.
03:16:09     23    Q. Now, your first face-to-face meeting was August 6th, '08,
03:16:13     24    correct, sir?
03:16:14     25    A. That's correct.
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03:16:15       1   Q. And at that time they were not arrested, were they?
03:16:19       2   A. That's correct.
03:16:20       3   Q. Was there a second meeting after August 6th, '08?
03:16:25       4   A. Yes, there was.
03:16:25       5   Q. When was that face-to-face meeting?
03:16:28       6   A. Second meeting, yes, the second face-to-face meeting, that
03:16:33       7   was in approximately, I don't know, around November 6th of
03:16:36       8   2008, sometime in early November.
03:16:41       9   Q. Okay. And you knew they were still dealing drugs then,
03:16:48     10    didn't you?
03:16:49     11    A. I suspected so.
03:16:52     12    Q. And, of course, they were still fugitives then?
03:16:55     13    A. That's correct.
03:16:56     14    Q. You don't stop being a fugitive until --
03:16:58     15    A. That's correct.
03:16:59     16    Q. And on November 6th they weren't arrested again, correct?
03:17:04     17    A. That's correct.
03:17:04     18    Q. Though they met with agents of the Drug Enforcement
03:17:08     19    Administration?
03:17:08     20    A. Yes.
03:17:08     21    Q. Now, I appreciate you do not have arrest power in Mexico.
03:17:12     22    I understand that. But is it not uncommon for your agency to
03:17:16     23    ask a foreign government, whose country you are in, for their
03:17:22     24    assistance in arresting one of your fugitives?
03:17:25     25    A. Perhaps.
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03:17:26       1   Q. You do this all the time, don't you?
03:17:28       2   A. I mean, I personally haven't, so --
03:17:30       3   Q. Does your agency not ask foreign governments to arrest
03:17:34       4   fugitives for them?
03:17:35       5               MS. GUREN: Objection, your Honor.
03:17:36       6               THE COURT: Sustained.
03:17:42       7   BY MR. RUBINO:
03:17:44       8   Q. Now, in -- on November 6th when you met with them, did you
03:17:49       9   ask them to do anything?
03:17:53     10    A. We debriefed them.
03:17:55     11    Q. Okay. Did you ask them to record any phone calls on [sic]
03:18:00     12    that meeting?
03:18:05     13    A. I don't recall specifically giving them those
03:18:08     14    instructions.
03:18:09     15    Q. Okay. Now, was there another face-to-face meeting after
03:18:15     16    November 6th?
03:18:18     17    A. The end of November, approximately the 28th or 29th.
03:18:25     18    Q. And where did that meeting occur?
03:18:29     19    A. That -- it wasn't essentially a meeting. I mean,
03:18:32     20    basically, went [sic] down to Guadalajara and picked them up
03:18:37     21    and escorted them out of the country.
03:18:39     22    Q. Okay. So at that time they were arrested, so to speak,
03:18:43     23    and removed from Mexico to face charges in the United States,
03:18:47     24    right?
03:18:47     25    A. Correct.
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03:18:52       1   Q. Okay. Now, allegedly they made certain recorded phone
03:19:02       2   calls. Are you the one who asked or instructed them to do
03:19:05       3   that?
03:19:07       4               MS. GUREN: Objection, your Honor, foundation.
03:19:08       5               THE COURT: Okay. Sustained.
03:19:12       6   BY MR. RUBINO:
03:19:13       7   Q. Do you know if they made recorded phone calls on behalf of
03:19:18       8   the Government?
03:19:19       9               MS. GUREN: Objection, your Honor, foundation as to
03:19:21     10    when.
03:19:21     11                THE COURT: Okay. I think --
03:19:22     12                MR. RUBINO: Oh, I'm sorry. When is --
03:19:23     13                THE COURT: It's the foundation, when. And --
03:19:25     14                MR. RUBINO: Okay. When is easy enough. We can do
03:19:27     15    that.
03:19:28     16    BY MR. RUBINO:
03:19:28     17    Q. Do you know if in November of '08 they made recorded phone
03:19:38     18    calls, do you know if they made recorded phone calls?
03:19:42     19    A. In November of 2008?
03:19:44     20    Q. Yes, sir.
03:19:45     21    A. They did recorded phone calls in my presence right at the
03:19:48     22    end of November 2008 and into December of 2008.
03:19:52     23    Q. Were the ones in November '08 in your presence done in
03:19:57     24    Mexico or done in the United States?
03:20:00     25    A. In the United States.
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03:20:02       1   Q. Okay. Let's -- do you know if they made -- in November of
03:20:06       2   '08 do you know if they made recorded phone calls in Mexico,
03:20:11       3   from Mexico to the United States?
03:20:15       4   A. From -- I don't know specifically -- from -- my
03:20:20       5   understanding was that they did record some phone calls while
03:20:24       6   they were in Mexico, but I have no knowledge of dates or times
03:20:26       7   or anything like that.
03:20:28       8   Q. So this was not done at your request --
03:20:30       9   A. No.
03:20:30     10    Q. -- you didn't furnish them equipment?
03:20:32     11                Okay. So you're not the guy on this, right?
03:20:34     12    A. Right.
03:20:35     13                MR. RUBINO: Okay. That's all. Okay. I have
03:20:40     14    nothing further. Thank you.
03:20:41     15                THE COURT: Okay. Redirect?
03:20:42     16                MS. GUREN: Thank you, your Honor.
03:20:43     17                                         - - -
03:20:43     18                    MATTHEW McCARTHY, REDIRECT EXAMINATION
03:20:43     19    BY MS. GUREN:
03:20:50     20    Q. I just want to clarify some things.
03:20:55     21    A. Okay.
03:20:55     22    Q. In November of 2008 were the Flores brothers cooperating
03:20:58     23    with the Government?
03:20:59     24    A. Yes.
03:20:59     25    Q. Had they been signed up by DEA as cooperators at that
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03:21:04       1   time?
03:21:04       2   A. No, no, they had not.
03:21:05       3   Q. Well, in November -- at November 6th, 2008, had they been
03:21:11       4   signed up as cooperators --
03:21:12       5   A. No.
03:21:12       6   Q. -- to your knowledge?
03:21:13       7   A. Yes.
03:21:15       8   Q. Before that, were they -- in August of 2008, were they
03:21:22       9   providing information?
03:21:23     10    A. They were providing information, yes.
03:21:26     11    Q. Were there safety concerns regarding the Flores brothers?
03:21:30     12    Without getting into the details.
03:21:32     13    A. Yes.
03:21:34     14    Q. At the time of November 2008 were there any promises made
03:21:45     15    regarding prosecution of the Flores brothers?
03:21:47     16    A. No.
03:21:48     17                MS. GUREN: No further questions.
03:21:50     18                THE COURT: Okay. How about you?
03:21:51     19                MR. RUBINO: One question.
03:21:51     20                                         - - -
03:21:51     21                    MATTHEW McCARTHY, RECROSS-EXAMINATION
03:21:51     22    BY MR. RUBINO:
03:21:54     23    Q. In response to a question just asked, in August 6th, '08,
03:22:00     24    they were providing information to the Government?
03:22:02     25    A. Yeah.
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03:22:03       1   Q. That's correct?
03:22:03       2   A. That's correct.
03:22:04       3   Q. And that's at the exact same time they are dealing drugs,
03:22:08       4   right?
03:22:08       5   A. We suspected them of dealing drugs.
03:22:11       6               MR. RUBINO: Thank you.
03:22:11       7               THE COURT: Anything else, Ms. Guren?
03:22:14       8               MS. GUREN: No, your Honor.
03:22:14       9               THE COURT: Okay. You can step down and be excused.
03:22:19     10                (Witness leaves the stand.)
03:22:19     11                THE COURT: And, folks, we'll take the afternoon
03:22:21     12    break right now for you. Okay, fifteen minutes. Thank you.
03:22:35     13                (The jury leaves the courtroom.)
03:56:05     14                (Recess taken.)
03:56:13     15                (The jury enters the courtroom.)
03:56:23     16                THE COURT: All right. Please be seated. I hope you
03:56:25     17    had a nice break, folks. You know what the rule is, is that
03:56:29     18    while you are doing your civic duty and you eat cookies and
03:56:33     19    drink pop on your break, none of the calories count, because
03:56:36     20    you're doing your civic duty. So you can tell your family
03:56:38     21    that.
03:56:38     22                (Laughter.)
03:56:40     23                THE COURT: All right. And now the Government can
03:56:41     24    call your next witness.
03:56:42     25                MS. RODNEY: Your Honor, the Government calls Karyn
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03:57:03       1   Mastricola.
03:57:04       2               (Witness takes the stand.)
03:57:04       3               THE COURT: Please raise your right hand.
03:57:07       4               (The witness was sworn.)
03:57:11       5               THE COURT: All right. Have a seat.
03:57:13       6               And you may begin when you're ready, Ms. Rodney.
03:57:13       7                                        - - -
03:57:13       8                    KARYN MASTRICOLA, DIRECT EXAMINATION
03:57:13       9   BY MS. RODNEY:
03:57:19     10    Q. Good afternoon.
03:57:20     11                Will you please state and spell your name for the
03:57:24     12    record?
03:57:24     13    A. Karyn Mastricola, K-a-r-y-n M-a-s-t-r-i-c-o-l-a.
03:57:30     14                THE COURT: Hold on just a second.
03:58:15     15    BY MS. RODNEY:
03:58:16     16    Q. Mrs. [sic] Mastricola, are you currently employed?
03:58:18     17    A. Yes.
03:58:18     18    Q. Where do you work?
03:58:20     19    A. I work for the DEA.
03:58:23     20    Q. And where are you assigned?
03:58:26     21    A. Asuncion, Paraguay.
03:58:29     22    Q. And what do you do for the DEA?
03:58:30     23    A. I'm an intelligence research specialist.
03:58:34     24    Q. And how long have you held that position?
03:58:35     25    A. Seven and a half years.
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03:58:42       1   Q. And how long have you been stationed in Paraguay?
03:58:46       2   A. Eleven months.
03:58:49       3   Q. And prior to working in Paraguay, where were you assigned?
03:58:53       4   A. Chicago HIDTA office.
03:58:55       5   Q. And is HIDTA -- does HIDTA stand for High Intensity Drug
03:59:01       6   Trafficking Areas?
03:59:01       7   A. Yes.
03:59:03       8   Q. And what was your title with HIDTA?
03:59:06       9   A. The same, intelligence research specialist.
03:59:09     10    Q. And how long did you work in Chicago as an intelligence
03:59:13     11    research specialist?
03:59:14     12    A. A little over four years.
03:59:19     13    Q. And prior to working in Chicago, where were you employed?
03:59:22     14    A. In Washington, D.C. at the special operations division.
03:59:27     15    Q. And what did you do there?
03:59:28     16    A. The same, intelligence research specialist.
03:59:32     17    Q. What does an intelligence research specialist do?
03:59:35     18    A. In general, we do a lot of the background work for the
03:59:40     19    agents' cases, telephone analysis, and investigations into
03:59:45     20    targets, their backgrounds, addresses, telephones.
03:59:50     21    Q. Did you receive any special training to become an
03:59:52     22    intelligence research specialist?
03:59:54     23    A. Yeah. I attended a nine-week training [sic] in Quantico,
04:00:00     24    Virginia, the basic intelligence research specialist class.
04:00:04     25    Q. Have you received any training, since you've been employed
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04:00:07       1   with DEA?
04:00:09       2   A. We do periodic, like, retraining, and I've received
04:00:15       3   extensive telephone -- additional telephone training.
04:00:22       4   Q. Now, do your responsibilities, as an intelligence research
04:00:25       5   specialist, include the search and recovery of data on
04:00:29       6   cellular telephones?
04:00:31       7   A. Yes.
04:00:31       8   Q. Approximately how many cellular telephones have you
04:00:34       9   searched during your career as an intelligence research
04:00:37     10    specialist?
04:00:38     11    A. Probably over a hundred.
04:00:40     12    Q. And in your analysis of telephones, have you become
04:00:43     13    familiar with telephone records or what are also known as toll
04:00:47     14    records?
04:00:48     15    A. Yes.
04:00:49     16    Q. Approximately how many toll records have you reviewed in
04:00:54     17    your career?
04:00:55     18    A. Hundreds of thousands.
04:01:04     19    Q. Ms. Mastricola, I'm going to hand you a stack of exhibits
04:01:09     20    and direct you to each of them in turn.
04:01:19     21                Now, while you were employed at Chicago -- at
04:01:23     22    Chicago's HIDTA office, did you conduct the search of a
04:01:26     23    cellphone related to the investigation in this case?
04:01:28     24    A. Yes.
04:01:29     25    Q. If you could direct your attention to Government Exhibit
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04:01:33       1   Phone 1 in front of you, do you recognize that exhibit?
04:01:39       2   A. I do.
04:01:39       3   Q. And what is it?
04:01:40       4   A. It's a telephone -- Telephone Exhibit 347.
04:01:48       5   Q. Is that the phone that you searched related to this
04:01:52       6   investigation?
04:01:52       7   A. Yes.
04:01:53       8               MS. RODNEY: And just for the record, Government
04:01:55       9   Exhibit Phone 1 has previously been admitted into evidence?
04:01:57     10                THE COURT: It is.
04:01:59     11    BY MS. RODNEY:
04:02:00     12    Q. Ms. Mastricola, how do you recognize that exhibit?
04:02:02     13    A. My initials are on one of the evidence labels here.
04:02:08     14    Q. Now, from whom did you receive that phone before you
04:02:11     15    searched it?
04:02:12     16    A. Special Agent Eric Durante.
04:02:14     17    Q. Approximately when did you receive the phone from Agent
04:02:21     18    Durante?
04:02:21     19    A. I received it on the date I opened it, which was
04:02:24     20    February 23rd.
04:02:24     21    Q. What year?
04:02:25     22    A. 2009.
04:02:26     23    Q. Was the phone in a sealed condition when you received it?
04:02:30     24    A. Yes.
04:02:30     25    Q. Is the phone in substantially the same condition now as it
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04:02:33       1   was when you first received it?
04:02:36       2   A. Yes.
04:02:38       3   Q. Now, when you received that phone, what were you asked to
04:02:42       4   do?
04:02:42       5   A. I was asked to do a secondary search on the phone, to look
04:02:46       6   into its contents, to see what was saved in the phone, as
04:02:52       7   like --
04:02:53       8   Q. And what was your search secondary to?
04:02:55       9   A. The Cellebrite automated search.
04:02:58     10    Q. And what is Cellebrite?
04:03:00     11    A. Cellebrite's a piece of equipment that you can plug into
04:03:04     12    most cellular phones, and it will automatically retrieve most
04:03:08     13    of the -- most of the things common to all phones, like the
04:03:14     14    phonebook, text messages, telephone calls.
04:03:20     15    Q. Does Cellebrite generate a report of the search of the
04:03:24     16    phone?
04:03:24     17    A. It does.
04:03:25     18    Q. Now, how did you go about conducting your search of
04:03:29     19    Government Exhibit Phone 1?
04:03:30     20    A. I turned it on, and I manually went through each of the
04:03:34     21    components in the phone.
04:03:36     22    Q. And specifically which components did you go through?
04:03:39     23    A. The text messages, the phone logs, the phonebook.
04:03:44     24    Q. Did you alter the contents of Government Exhibit Phone 1
04:03:48     25    during your search?
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04:03:49       1   A. No.
04:03:51       2   Q. Did you compare the results of your search with the report
04:03:55       3   generated by the Cellebrite device?
04:03:58       4   A. Yes.
04:03:58       5   Q. Did you find any additional information?
04:04:01       6   A. No.
04:04:02       7   Q. When you searched Government Exhibit Phone 1, was it able
04:04:05       8   to receive phone calls or text messages?
04:04:08       9   A. No.
04:04:10     10    Q. How do you know?
04:04:13     11    A. It had no -- it was not connecting to a network. The --
04:04:17     12    you could tell that it was not picking up any kind of cell
04:04:21     13    service.
04:04:21     14    Q. Did you determine that after you powered the phone on?
04:04:25     15    A. Yes.
04:04:25     16    Q. During your search of Government Exhibit Phone 1, were you
04:04:28     17    able to determine the telephone number associated with it?
04:04:32     18    A. No.
04:04:32     19    Q. And why not?
04:04:34     20    A. It didn't have any service, and, also, when I turned it
04:04:40     21    on, the service provider was shown as Telcel, which is a
04:04:44     22    Mexican service provider. And so Cellebrite will not pull
04:04:50     23    non-U.S. telephone numbers.
04:04:53     24    Q. Now, are you familiar with the cellphone's phonebook or
04:04:57     25    contact list feature?
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04:04:58       1   A. Yes.
04:04:59       2   Q. And what is a phonebook?
04:05:01       3   A. Phonebook is similar to like your paper telephone book
04:05:04       4   would be, would save a name, a phone number, any e-mail
04:05:09       5   address, any information you would want to save about a
04:05:11       6   particular person.
04:05:12       7   Q. During your search of Government Exhibit Phone 1, did you
04:05:15       8   find a phonebook?
04:05:16       9   A. Yes.
04:05:17     10    Q. How many contact names were included in the phonebook?
04:05:20     11    A. One.
04:05:22     12    Q. What name was in the phonebook?
04:05:24     13    A. Ron Ron.
04:05:26     14    Q. Did you find a phone number associated with the name Ron
04:05:30     15    Ron?
04:05:30     16    A. Yes.
04:05:31     17    Q. What was that phone number for Ron Ron?
04:05:33     18    A. (773) 691-1702.
04:05:40     19    Q. Did you find any other names or numbers in the phonebook
04:05:43     20    for Government Exhibit Phone 1?
04:05:45     21    A. No.
04:05:47     22    Q. Earlier you testified about searching for incoming and
04:05:51     23    outgoing phone calls. What is an incoming call?
04:05:54     24    A. It's a call received by the phone.
04:05:57     25    Q. Does the cellphone keep a record of its incoming calls?
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04:06:01       1   A. Yes.
04:06:02       2   Q. During your search of Government Exhibit Phone 1, did you
04:06:06       3   find any record of incoming calls?
04:06:07       4   A. Yes.
04:06:09       5   Q. What name was associated with those incoming calls?
04:06:12       6   A. Ron Ron.
04:06:13       7   Q. What number was associated with the incoming calls to
04:06:17       8   Government Exhibit Phone 1?
04:06:18       9   A. (773) 691-1702.
04:06:28     10    Q. All right. Did you find other incoming calls to
04:06:28     11    Government Exhibit Phone 1?
04:06:28     12    A. Yes.
04:06:30     13    Q. Were you able to determine a name associated to those
04:06:32     14    calls from your search?
04:06:33     15    A. No.
04:06:34     16    Q. If I could direct your attention to the first folder
04:06:37     17    labeled Government Exhibit Summary 1A, do you have that in
04:06:42     18    front of you?
04:06:43     19    A. Yes.
04:06:43     20    Q. Do you recognize that exhibit?
04:06:45     21    A. Yes.
04:06:46     22    Q. And what is it?
04:06:47     23    A. It's a list of the incoming calls to this phone from Ron
04:06:53     24    Ron.
04:06:53     25    Q. Is it incoming calls from Ron Ron at number
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04:06:58       1   (773) 691-1702?
04:07:02       2   A. Yes.
04:07:03       3   Q. Is Government Exhibit Summary 1A a true and accurate
04:07:06       4   summary of the incoming phone calls from Ron Ron at
04:07:10       5   (773) 691-1702?
04:07:14       6   A. Yes.
04:07:15       7               MS. RODNEY: Your Honor, the Government wishes to
04:07:17       8   move into evidence Government Exhibit Summary 1A and publish.
04:07:20       9               THE COURT: Okay. It will be admitted, and you may
04:07:24     10    publish it.
04:07:38     11    BY MS. RODNEY:
04:07:39     12    Q. Ms. Mastricola, directing your attention to either the
04:07:41     13    screen in front of you or the hard copy of Government Exhibit
04:07:46     14    Summary 1A, can you explain how this chart is organized?
04:07:49     15    A. The column to the left is the type of call, incoming
04:07:52     16    versus outgoing. The next column is the number from which the
04:07:57     17    call was received. The next column is the name associated in
04:08:02     18    the phone with that phone number. The next column is the date
04:08:07     19    the call was received, then the time the call was received,
04:08:12     20    and the duration, how long the call lasted.
04:08:16     21    Q. How many incoming calls from Ron Ron did you find during
04:08:19     22    your search of Government Exhibit Phone 1?
04:08:22     23    A. Five.
04:08:23     24    Q. And what is the date range of these incoming calls from
04:08:27     25    Ron Ron?
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04:08:27       1   A. August 3rd to August 5th, 2008.
04:08:31       2   Q. And what is the longest duration of incoming calls -- what
04:08:35       3   is the longest incoming call during this time period?
04:08:39       4   A. Three minutes and four seconds.
04:08:41       5   Q. And what is the shortest incoming call during this time
04:08:45       6   period?
04:08:45       7   A. Twelve seconds.
04:08:49       8   Q. Now, during your search of Government Exhibit Phone 1, did
04:08:52       9   you find any outgoing calls?
04:08:53     10    A. Yes.
04:08:54     11    Q. And what is an outgoing call?
04:08:56     12    A. It's a call placed by that phone to another.
04:08:58     13    Q. Does the cellphone keep a record of outgoing calls?
04:09:02     14    A. Yes.
04:09:04     15    Q. And the outgoing calls that you found, what was the name
04:09:07     16    associated with those outgoing calls?
04:09:10     17    A. Ron Ron.
04:09:12     18    Q. And what number was associated with the outgoing calls
04:09:15     19    from Ron Ron -- excuse me -- outgoing calls to Ron Ron from
04:09:20     20    Government Exhibit Phone 1?
04:09:21     21    A. (773) 691-1702.
04:09:27     22    Q. Did you find other outgoing calls from Government Exhibit
04:09:32     23    Phone 1?
04:09:32     24    A. Yes.
04:09:32     25    Q. Were you able to determine the name associated with those
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04:09:35       1   calls from your search?
04:09:36       2   A. No.
04:09:37       3   Q. Now, if I could direct your attention to the second folder
04:09:40       4   in front of you, Government Exhibit Summary 1B, do you
04:09:52       5   recognize this document?
04:09:53       6   A. Yes.
04:09:54       7   Q. And what is it?
04:09:55       8   A. It's a list of calls from this phone to Ron Ron.
04:10:01       9   Q. I'm sorry. Can you speak into the microphone?
04:10:03     10    A. Sorry. It's a list of phone calls from this phone to Ron
04:10:08     11    Ron.
04:10:08     12    Q. And you're referring to Government Exhibit Phone 1 --
04:10:11     13    A. Yes.
04:10:11     14    Q. -- to Ron Ron?
04:10:12     15                Is Government Exhibit Summary 1B a true and accurate
04:10:17     16    summary of the outgoing phone calls to Ron Ron at number
04:10:20     17    (773) 691-1702 from Government Exhibit Phone 1?
04:10:26     18    A. Yes.
04:10:27     19                MS. RODNEY: Your Honor, the Government moves into
04:10:29     20    evidence Government Exhibit Summary 1B.
04:10:31     21                THE COURT: It will be admitted, and you can publish.
04:10:42     22    BY MS. RODNEY:
04:10:44     23    Q. Ms. Mastricola, can you please describe how Government
04:10:48     24    Exhibit Summary 1B is organized?
04:10:49     25    A. The column to the farther left, again, is the type, and
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04:10:52       1   this is outgoing this time. The next column is the phone
04:10:56       2   number and who the calls went to. And the next column is the
04:11:01       3   name associated with that phone number. The next column is
04:11:05       4   the date. The next is the time. And the final is the
04:11:07       5   duration, how long the call lasted.
04:11:10       6   Q. And what do the dashes on the chart indicate?
04:11:13       7   A. That the phone did not record the time.
04:11:16       8   Q. How many outgoing calls to Ron Ron from Government Exhibit
04:11:21       9   Phone 1 did you find during your search?
04:11:22     10    A. Five.
04:11:23     11    Q. And what is the date range of those outgoing calls to Ron
04:11:27     12    Ron?
04:11:27     13    A. They were all on August 5th, 2008.
04:11:31     14    Q. What is the longest duration of an outgoing call for this
04:11:37     15    period?
04:11:37     16    A. Five minutes and 22 seconds.
04:11:40     17    Q. Now, did your search of Government Exhibit Phone 1 include
04:11:43     18    a search for any missed calls to the phone?
04:11:46     19    A. Yes.
04:11:48     20    Q. And does the cellphone keep a record of missed calls?
04:11:52     21    A. Yes.
04:11:52     22    Q. During your search of Government Exhibit Phone 1, did you
04:11:55     23    recover any record of missed calls?
04:11:58     24    A. Yes.
04:11:59     25    Q. And what name is associated with those missed calls?
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04:12:03       1   A. Ron Ron.
04:12:03       2   Q. And what number was associated with the missed calls to
04:12:07       3   Government Exhibit Phone 1 from Ron Ron?
04:12:09       4   A. (773) 691-1702.
04:12:14       5   Q. Did you find other missed calls to Government Exhibit
04:12:19       6   Phone 1?
04:12:19       7   A. Yes.
04:12:19       8   Q. Were you able to determine the name associated with those
04:12:21       9   calls?
04:12:23     10    A. No.
04:12:24     11    Q. If I could direct your attention to Government Exhibit
04:12:32     12    Summary 1C, do you recognize that exhibit?
04:12:33     13    A. Yes.
04:12:34     14    Q. And what is it?
04:12:35     15    A. It's a list of calls to Exhibit Phone 1 from Ron Ron that
04:12:42     16    were missed, like they were not answered by that phone.
04:12:45     17    Q. And what is the phone number for those missed calls?
04:12:48     18    A. (773) 691-1702.
04:12:53     19    Q. Is Government Exhibit Summary 1C a true and accurate
04:12:57     20    summary of missed phone calls from Ron Ron at (773) 691-1702
04:13:03     21    to Government Exhibit Phone 1?
04:13:08     22    A. Yes.
04:13:08     23                MS. RODNEY: Your Honor, the Government wishes to
04:13:09     24    move into evidence Government Exhibit Summary 1C.
04:13:14     25                THE COURT: It will be admitted, and you can publish.
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04:13:20       1   BY MS. RODNEY:
04:13:21       2   Q. Can you explain what Government Exhibit Summary 1C is?
04:13:27       3   A. The column to the far left is type, and it's missed,
04:13:29       4   meaning that the call was incoming but not answered. The next
04:13:32       5   column is the phone number from which those calls came from.
04:13:35       6   The next column is name associated with that phone number.
04:13:39       7   And the next column is date. And the last is time.
04:13:43       8   Q. How many missed calls from Ron Ron did you find during
04:13:47       9   your search of Government Exhibit Phone 1?
04:13:49     10    A. Five.
04:13:50     11    Q. And what is the date range of those missed calls from Ron
04:13:54     12    Ron?
04:13:54     13    A. August 4th through August 5th of 2008.
04:13:58     14    Q. Now, did your search of Government Exhibit Phone 1 include
04:14:01     15    the search for text messages?
04:14:03     16    A. Yes.
04:14:03     17    Q. And what is a text message?
04:14:05     18    A. A text message is a written message sent between two
04:14:09     19    telephones.
04:14:10     20    Q. Does the phone store text messages it receives and text
04:14:15     21    messages it sends?
04:14:16     22    A. Yes.
04:14:17     23    Q. During your search of Government Exhibit Phone 1, did you
04:14:20     24    find a record of incoming text messages to that phone?
04:14:24     25    A. Yes.
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04:14:24       1   Q. And what name was associated with that text messages?
04:14:28       2   A. Ron Ron.
04:14:28       3   Q. What number was associated with the text messages from Ron
04:14:33       4   Ron?
04:14:33       5   A. (773) 691-1702.
04:14:38       6   Q. Did you find any other text messages in your search of the
04:14:43       7   phone?
04:14:43       8   A. Yes.
04:14:43       9   Q. And what name is associated with those text messages?
04:14:47     10    A. There was no name associated.
04:14:48     11    Q. Now, showing you -- if I could direct your attention,
04:14:51     12    actually, to the last summary chart in front of you,
04:14:54     13    Government Exhibit Summary Chart 1E, now do you recognize that
04:15:00     14    exhibit?
04:15:00     15    A. Yes.
04:15:00     16    Q. And what is it?
04:15:01     17    A. It's a listing of the text messages from Ron Ron to
04:15:08     18    Exhibit Phone 1.
04:15:09     19    Q. Is that exhibit a true and accurate summary of the
04:15:12     20    incoming text messages from Ron Ron at phone number
04:15:16     21    (773) 691-1702 to Government Exhibit Phone 1?
04:15:21     22    A. Yes.
04:15:22     23                MS. RODNEY: The Government wishes to move into
04:15:23     24    evidence Government Exhibit Phone Summary 1E.
04:15:27     25                THE COURT: Okay. It will be admitted, and you can
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04:15:30       1   publish it.
04:15:44       2   BY MS. RODNEY:
04:15:44       3   Q. If I could direct you just to the top of the exhibit, can
04:15:47       4   you describe the different columns there?
04:15:49       5   A. The first column is the number that the call -- that the
04:15:55       6   text message came from. The next column is the name
04:15:58       7   associated with that number. The next is the date for that
04:16:03       8   text message. The next is the time. And the last column is
04:16:08       9   the actual content of the message.
04:16:11     10    Q. Going back to the time column, what does the reference GMT
04:16:17     11    minus five refer to?
04:16:17     12    A. It references the time zone they were recorded in. So
04:16:21     13    for -- central time is GMT minus five, which is Greenwich Mean
04:16:30     14    Time.
04:16:30     15    Q. Is that time as indicated in the phone?
04:16:31     16    A. Yes.
04:16:32     17    Q. And going to the next column, which reflects the text of
04:16:37     18    the call, are the text messages entered as you found them in
04:16:41     19    the phone?
04:16:43     20    A. Yes.
04:16:50     21    Q. How many incoming text messages from Ron Ron did you find
04:16:53     22    during your search of Government Exhibit Phone 1?
04:16:56     23    A. 24.
04:16:57     24    Q. And what is the date range of those incoming text messages
04:17:01     25    from Ron Ron?
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04:17:02       1   A. September 13th through November 28th of 2008.
04:17:10       2   Q. And during your search of Government Exhibit Phone 1, did
04:17:12       3   you recover any outgoing text messages from the phone?
04:17:16       4   A. Yes.
04:17:16       5   Q. Into what contact name were those outgoing text messages
04:17:21       6   sent?
04:17:21       7   A. Ron Ron.
04:17:22       8   Q. And what number was associated with the name Ron Ron?
04:17:25       9   A. (773) 691-1702.
04:17:29     10    Q. And how many outgoing text messages from Government
04:17:33     11    Exhibit Phone 1 to Ron Ron at (773) 691-1702 did you find
04:17:39     12    during your search of Government Exhibit Phone 1?
04:17:42     13    A. Nine.
04:17:43     14    Q. Now, after you completed your search of Government Exhibit
04:17:46     15    Phone 1, what did you do with it?
04:17:48     16    A. I put it back in the evidence bag and resealed it.
04:17:52     17    Q. And did you give it to anyone?
04:17:53     18    A. I gave it back to our digital evidence laboratory with
04:17:57     19    DEA.
04:18:01     20                MS. RODNEY: At this time, your Honor, may I read a
04:18:03     21    stipulation between the parties?
04:18:04     22                THE COURT: Okay.
04:18:05     23                MS. RODNEY: It is hereby stipulated and agreed
04:18:08     24    between the United States of America, by its attorney, Patrick
04:18:12     25    J. Fitzgerald, United States Attorney for the Northern
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04:18:15       1   District of Illinois, and the defendant, individually and by
04:18:17       2   his attorneys, that the following facts are true:
04:18:20       3               If called as a witness, a custodian of records for
04:18:24       4   T-Mobile would testify that he or she has knowledge of the
04:18:29       5   relevant recordkeeping system and that each of the described
04:18:33       6   records were made or received and maintained in the regular
04:18:36       7   course of T-Mobile's business around the time of the
04:18:40       8   transaction reflected in the records and that it is the
04:18:43       9   regular practice of T-Mobile to make or receive such records.
04:18:48     10                Government Exhibit T-Mobile 1 contains subscriber
04:18:52     11    information and cellular telephone call records for the period
04:18:55     12    of November 17th, 2008 through December 11th, 2008 for account
04:19:01     13    number 45051569 and mobile telephone number (773) 691-1702.
04:19:15     14    Times for the cellular telephone call records are listed in
04:19:20     15    Pacific Daylight Time, or PDT, and the subscriber information.
04:19:26     16    There is no subscriber name listed.
04:19:27     17                So stipulated, Counsel?
04:19:29     18                MR. RUBINO: Yes.
04:19:33     19                MS. RODNEY: Your Honor, at this time the Government
04:19:34     20    wishes to move into evidence Government Exhibit T-Mobile 1.
04:19:37     21                THE COURT: Okay. There's no objection, it will be
04:19:42     22    admitted.
04:19:42     23    BY MS. RODNEY:
04:19:42     24    Q. Ms. Mastricola, if you could refer to the folder marked
04:19:45     25    Government Exhibit T-Mobile 1.
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04:19:51       1               And, your Honor, may I publish Government
04:19:54       2   Exhibit T-Mobile 1?
04:19:55       3               THE COURT: You may.
04:20:05       4   BY MS. RODNEY:
04:20:06       5   Q. Ms. Mastricola, do you recognize Government
04:20:09       6   Exhibit T-Mobile 1?
04:20:10       7   A. I do.
04:20:10       8   Q. And what is it?
04:20:11       9   A. It's a listing of the telephone calls from T-Mobile, so
04:20:17     10    it's like the telephone bill for this period of time.
04:20:21     11    Q. And what type of information is listed on Government
04:20:24     12    Exhibit T-Mobile 1?
04:20:26     13    A. The first column is the telephone number of the account.
04:20:31     14    The next is the date. The next is the direction.
04:20:38     15    Q. When you say direction, you mean incoming or outgoing?
04:20:41     16    A. Yes. The next is the time of the call. The next column
04:20:47     17    is the phone number that called or was called by this
04:20:52     18    telephone. Call type, if there's a D listed, is when there
04:20:58     19    was a text message. And the last column is the number of
04:21:01     20    minutes that were billed, the duration of that call.
04:21:07     21    Q. If I could back you up to the time column, is that listed
04:21:11     22    in Pacific Daylight Time?
04:21:13     23    A. Yes.
04:21:14     24    Q. And how many hours is that behind Central Standard Time?
04:21:17     25    A. Two.
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04:21:19    1   Q. And going to the number of minutes column, is that the
04:21:23    2   exact duration of the call?
04:21:25    3   A. No. Most telephone companies round up to the next nearest
04:21:29    4   minute.
04:21:29    5   Q. And for the record, are you referring to the second page
04:21:32    6   of Government Exhibit T-Mobile 1?
04:21:35    7   A. Yes.
04:21:47    8              MS. RODNEY: If I may just have one moment, your
04:21:47    9   Honor?
04:21:49   10              THE COURT: Sure.
04:22:06   11   BY MS. RODNEY:
04:22:09   12   Q. Now, Ms. Mastricola, if I could direct your attention to
04:22:11   13   the outgoing call from (773) 691-1702 on November 25th, 2008,
04:22:20   14   at 12:23 p.m., do you see that line in the exhibit?
04:22:27   15   A. Yes.
04:22:27   16   Q. And what was the number dialed as listed in the phone
04:22:30   17   records?
04:22:30   18   A. 011521331458962.
04:22:39   19   Q. Is that the complete number dialed?
04:22:41   20   A. No.
04:22:42   21   Q. And how do you know?
04:22:44   22   A. We have subsequent call records that show the complete
04:22:48   23   phone number, but for -- from my work experience, that's a
04:22:52   24   Mexican phone number that was dialed. And they have the same
04:22:57   25   ten digits at the end of their phone number as we do.
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04:23:01    1   Q. Now, just to back up a bit, is the complete phone number
04:23:04    2   listed elsewhere in the T-Mobile 1 records?
04:23:08    3   A. Yes.
04:23:08    4   Q. And is that found on page 3 of the exhibit?
04:23:11    5   A. Yes.
04:23:16    6   Q. And what is the complete phone number, if you could direct
04:23:20    7   your attention to page 3 of the exhibit, that was dialed at
04:23:24    8   that date and time?
04:23:24    9   A. 0115213314589626.
04:23:34   10   Q. So the exhibit page depicted on the screen is missing that
04:23:38   11   last six digits?
04:23:40   12   A. Yes.
04:23:40   13   Q. But it's found on page 3 of the exhibit?
04:23:43   14   A. Yes.
04:23:43   15   Q. Now, are you familiar with the prefix in this number of
04:23:47   16   01152?
04:23:48   17   A. Yes.
04:23:49   18   Q. And what is that?
04:23:50   19   A. 011 is dialed from U.S. to make an international phone
04:23:55   20   call, and 52 is the country code for Mexico.
04:23:59   21   Q. And what is the number of minutes of that call from
04:24:06   22   12/23 p.m. on November 25th of 2008?
04:24:07   23   A. Four minutes.
04:24:09   24   Q. Now, if I could direct your attention a few lines down to
04:24:12   25   an outgoing call from (773) 691-1702 on November 29th, 2008,
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04:24:20    1   at 1359 p.m. What does 1359 p.m. translate for nonmilitary
04:24:30    2   time?
04:24:30    3   A. 11:59.
04:24:32    4   Q. 11 --
04:24:34    5   A. I'm sorry, 1:59 p.m.
04:24:37    6   Q. And what was the number dialed on that date and time?
04:24:44    7   A. It's the same number, 011521331458962.
04:24:52    8   Q. And is the complete number listed on the following page of
04:24:56    9   the exhibit?
04:24:57   10   A. Yes.
04:24:57   11   Q. Does the complete number include one additional digit of
04:25:02   12   six?
04:25:02   13   A. Yes.
04:25:02   14   Q. And what was the number of minutes of that call?
04:25:05   15   A. One.
04:25:06   16   Q. Now, directing your attention to an outgoing call from
04:25:09   17   (773) 691-1702 on November 30th, 2008, at 12:13 p.m., what
04:25:19   18   number was dialed on that date and time?
04:25:29   19   A. The same number, 011521331458962.
04:25:37   20   Q. And is the complete number found on page 3 of the exhibit?
04:25:42   21   A. It's on page 4 of the exhibit, yes.
04:25:45   22   Q. Page 4 of the exhibit.
04:25:47   23              It's the complete number -- does the complete number
04:25:50   24   include that additional digit of six?
04:25:53   25   A. Yes.
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04:25:54    1   Q. And what was the number of minutes of that call?
04:26:01    2   A. Two.
04:26:06    3   Q. If I could just direct your attention to the screen, is
04:26:12    4   the highlighted portion the information you just read into the
04:26:14    5   record?
04:26:15    6   A. Yes.
04:26:18    7              MS. RODNEY: Your Honor, may I have one moment?
04:26:20    8              THE COURT: Sure.
04:26:27    9              MS. RODNEY: I have no further questions at this
04:26:29   10   time.
04:26:29   11              THE COURT: Okay. Mr. Rubino, any cross?
04:26:31   12              MR. RUBINO: Yes, your Honor.
04:26:32   13                                       - - -
04:26:32   14                    KARYN MASTRICOLA, CROSS-EXAMINATION
04:26:32   15   BY MR. RUBINO:
04:26:37   16   Q. Good afternoon.
04:26:38   17   A. Good afternoon.
04:26:41   18   Q. The phone that you have analyzed, you received from agent
04:26:48   19   Eric Durante, correct?
04:26:50   20   A. Yes.
04:26:51   21   Q. Do you know where he got it?
04:26:53   22   A. I do not.
04:26:55   23   Q. You don't know the phone number of that phone, correct?
04:26:59   24   A. I do not.
04:27:01   25   Q. And when you went into the phone, you found only one
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04:27:07    1   number in the memory -- in the phonebook memory, which was
04:27:12    2   (773) 691-1702; am I correct?
04:27:18    3   A. Yes.
04:27:19    4   Q. And that phone number in the phonebook memory was
04:27:23    5   associated or hooked up to the name Ron Ron, correct?
04:27:28    6   A. Yes.
04:27:29    7   Q. Now, then you showed us that there were incoming calls,
04:27:39    8   outgoing calls, and missed calls; am I correct?
04:27:43    9   A. Yes.
04:27:44   10   Q. And we had charts -- not this chart -- but we had charts
04:27:47   11   on the board earlier, did we not?
04:27:49   12   A. Yes.
04:27:49   13   Q. Okay. And those charts showed calls either incoming or
04:27:58   14   outgoing or missed from the unknown number phone or to the
04:28:04   15   unknown number phone, correct?
04:28:06   16   A. Yes.
04:28:07   17   Q. And we know exactly when the calls were made, do we not?
04:28:12   18   A. Yes.
04:28:13   19   Q. But do we know exactly when the name Ron Ron was put in
04:28:16   20   the phone?
04:28:17   21   A. No.
04:28:18   22   Q. Could the name Ron Ron have been put in the phone after
04:28:22   23   the calls were made?
04:28:24   24   A. Yes.
04:28:24   25   Q. So we don't know then that that name was placed in there
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04:28:30    1   before the calls were made, when the calls were made, or
04:28:33    2   substantially after the calls were made, correct?
04:28:35    3   A. Correct.
04:28:40    4   Q. Can you tell us who placed the incoming calls?
04:28:43    5   A. No.
04:28:44    6   Q. Can you tell us who received them?
04:28:46    7   A. No.
04:28:47    8   Q. Can you tell us what they spoke about?
04:28:49    9   A. No.
04:28:51   10   Q. Can you tell us whose number is (773) 691-1702?
04:28:58   11   A. No.
04:28:59   12   Q. Don't the T-Mobile records reflect that?
04:29:02   13   A. It's -- a prepaid phone does not require a name.
04:29:06   14   Q. So we have a phone that is not registered to anyone
04:29:15   15   calling a phone we don't know the number of, correct?
04:29:18   16   A. Yes.
04:29:19   17   Q. And receiving calls from a phone we don't know the number
04:29:21   18   of.
04:29:22   19              Now, you went through this phone number of
04:29:34   20   011521331458962, and you said, of course, there's a digit
04:29:40   21   missing?
04:29:41   22   A. Correct.
04:29:41   23   Q. And you said the missing digit was 6 because you found it
04:29:46   24   on the next page?
04:29:47   25   A. Correct.
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04:29:48    1   Q. How do you know it was six?
04:29:50    2   A. The T-Mobile records, this record that's being displayed
04:29:55    3   right now is actually what you would receive as your phone
04:29:58    4   bill. So there's only a standard number of digits that show
04:30:03    5   up in those records.
04:30:04    6   Q. I understand.
04:30:05    7   A. The phone company keeps complete records that encompass
04:30:09    8   the entire digits that were saved from that.
04:30:13    9   Q. Okay. And do you have those complete records?
04:30:18   10   A. Yes.
04:30:18   11   Q. And does it show every single call that had the first
04:30:24   12   group of numbers that six was the last number?
04:30:27   13   A. Yes.
04:30:28   14   Q. Okay. Okay. With respect to the text messages, the text
04:30:43   15   messages are basically in the same category as voice messages,
04:30:49   16   in that it's the same phone that transmits them; am I correct?
04:30:55   17   A. Correct.
04:30:55   18   Q. Okay. So if we don't know who made the phone calls, we
04:30:59   19   also don't know who sent the text messages, do we?
04:31:03   20   A. Correct.
04:31:03   21   Q. And if we don't know who received the phone calls, we
04:31:06   22   don't know who received the text messages, do we?
04:31:09   23   A. Correct.
04:31:09   24              MR. RUBINO: Okay. Thank you very much. I have
04:31:11   25   nothing further.
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04:31:12    1              THE COURT: Ms. Rodney, do you have any redirect?
04:31:14    2              MS. RODNEY: Yes, your Honor. May I publish an
04:31:17    3   exhibit?
04:31:17    4              THE COURT: Sure, if it's admitted, of course.
04:31:19    5              MS. RODNEY: Let's publish again Government
04:31:22    6   Exhibit T-Mobile 1.
04:31:24    7              THE COURT: All right.
04:31:24    8                                       - - -
04:31:24    9                  KARYN MASTRICOLA, REDIRECT EXAMINATION
04:31:24   10   BY MS. RODNEY:
04:31:40   11   Q. Ms. Mastricola, referring to the screen in front of you,
04:31:43   12   is this the third page of Government Exhibit T-Mobile 1 that
04:31:47   13   you were referring to when you cited the complete number
04:31:50   14   dialed during those three days --
04:31:52   15   A. Yes.
04:31:53   16   Q. -- on direct examination?
04:31:55   17   A. Yes.
04:31:59   18   Q. Is this the fourth page of Government Exhibit T-Mobile 1
04:32:05   19   where you were able to retrieve the complete number dialed for
04:32:09   20   this November 30th call at 12:13 in the afternoon?
04:32:13   21   A. Yes.
04:32:15   22   Q. And when you talked about the complete phone records on
04:32:19   23   cross-examination, were you referring to these additional
04:32:23   24   pages of Government Exhibit T-Mobile 1?
04:32:26   25   A. Yes.
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04:32:30    1   Q. Now, during your search of Government Exhibit Phone 1, you
04:32:33    2   didn't put the name Ron Ron in the phone, did you?
04:32:36    3   A. No.
04:32:37    4   Q. And you also talked about not knowing who the 773 number
04:32:44    5   belonged to. Do you know what area code 773 is?
04:32:48    6   A. Chicago.
04:32:52    7              MS. RODNEY: I don't have anything further.
04:32:53    8              THE COURT: Okay. Anything from you, Mr. Rubino?
04:32:56    9              MR. RUBINO: No, ma'am.
04:32:56   10              THE COURT: Okay. You may step down and be excused.
04:33:00   11              (Witness leaves the stand.)
04:33:00   12              THE COURT: And you may call your next witness.
04:33:02   13              MS. GUREN: Thank you, your Honor. The Government
04:33:03   14   calls Special Agent Jacob Galvan.
04:33:46   15              THE COURT: Right up here, sir.
04:33:49   16              (Witness takes the stand.)
04:33:49   17              THE COURT: Please raise your right hand.
04:33:52   18              (The witness was sworn.)
04:33:53   19              THE COURT: You may take a seat.
04:33:55   20              And whenever you're ready, Ms. Guren.
04:33:58   21              MS. GUREN: Thank you, your Honor.
04:33:59   22                                       - - -
04:33:59   23                      JACOB GALVAN, DIRECT EXAMINATION
04:33:59   24   BY MS. GUREN:
04:34:03   25   Q. Good afternoon.
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04:34:04    1   A. Good afternoon.
04:34:04    2   Q. Can you state and spell your name for the record?
04:34:07    3   A. Jacob Galvan, G-a-l-v-a-n.
04:34:13    4   Q. Where do you work?
04:34:14    5   A. For the Drug Enforcement Administration.
04:34:15    6   Q. Can I call that DEA?
04:34:17    7   A. Yes.
04:34:17    8   Q. Where specifically, what location are you from?
04:34:19    9   A. San Diego, California.
04:34:21   10   Q. What's your position there?
04:34:23   11   A. I'm a special agent.
04:34:24   12   Q. How long have you worked as a special agent for the DEA?
04:34:27   13   A. Approximately thirteen years.
04:34:29   14   Q. What are your responsibilities as a DEA agent?
04:34:32   15   A. To investigate narcotics violations.
04:34:37   16   Q. In November 2008, what was your position within DEA?
04:34:41   17   A. I was assigned to the Guadalajara, Mexico resident office
04:34:46   18   in Guadalajara, Mexico.
04:34:49   19   Q. Are you familiar with an individual named Pete or Pedro
04:34:52   20   Flores?
04:34:52   21   A. Yes.
04:34:54   22              MS. GUREN: Your Honor, permission to publish
04:34:57   23   Government Exhibit Photo 1?
04:34:58   24              THE COURT: That's fine.
04:35:00   25   BY MS. GUREN:
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04:35:01    1   Q. Showing you Government Exhibit Photo 1 on the screen, do
04:35:07    2   you recognize that photo?
04:35:10    3   A. Yes.
04:35:10    4   Q. Who is that?
04:35:11    5   A. That's Margarito Flores.
04:35:15    6   Q. And are Margarito -- who is Margarito Flores?
04:35:21    7   A. The brother of Pedro Flores.
04:35:23    8   Q. And are they twins?
04:35:25    9   A. Yes.
04:35:25   10              MS. GUREN: I wanted to show you two photos side by
04:35:30   11   side. Permission to publish Photo 2 as well?
04:35:32   12              THE COURT: That's fine.
04:35:34   13   BY MS. GUREN:
04:35:36   14   Q. Showing you Government Exhibit Photo 2, do you recognize
04:35:38   15   that photo?
04:35:39   16   A. Yes.
04:35:40   17   Q. Who is that?
04:35:41   18   A. That's Pedro Flores on the right.
04:35:45   19   Q. Is that the new photo that I put up?
04:35:48   20   A. Yes.
04:35:48   21   Q. How often did you -- actually ...
04:35:54   22              Turning to the fall of 2008, what, if anything, was
04:35:57   23   your role in the investigation involving Pete and Margarito
04:36:01   24   Flores?
04:36:01   25   A. I was a liaison between Pedro and Margarito and the
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04:36:07    1   Chicago Field Division.
04:36:08    2   Q. Were you -- were you given any instructions by the Chicago
04:36:14    3   Field Office for DEA regarding recording phone calls?
04:36:18    4   A. Yes.
04:36:18    5   Q. What were those instructions?
04:36:20    6   A. That Pedro and Margarito would be making phone calls,
04:36:24    7   recording them, and turning them over to me, so I can forward
04:36:29    8   them to Chicago.
04:36:30    9   Q. What, if anything, did you instruct Pedro Flores with
04:36:34   10   regard to a recording device?
04:36:36   11   A. I instructed him to purchase a digital audio recording
04:36:42   12   device.
04:36:42   13   Q. Did you purchase that device for him at all?
04:36:45   14   A. No.
04:36:45   15   Q. Turning your attention to on or about December 1st, 2008,
04:36:50   16   did you receive anything from Pedro Flores?
04:36:52   17   A. Yes.
04:36:52   18   Q. What was that?
04:36:53   19   A. A digital audio recording device.
04:36:56   20   Q. What, if anything, did you do with that digital audio
04:36:59   21   recording device?
04:37:00   22   A. I downloaded its contents.
04:37:02   23   Q. On to what?
04:37:03   24   A. On to a CD-ROM disk.
04:37:06   25   Q. Once you downloaded it on to a CD-ROM, what, if anything,
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04:37:10    1   did you do with it?
04:37:10    2   A. I forwarded it to Chicago.
04:37:12    3   Q. How did you send it?
04:37:14    4   A. Via FedEx.
04:37:15    5   Q. Did you send it to anyone in particular?
04:37:17    6   A. Yes.
04:37:18    7   Q. Who was that?
04:37:18    8   A. Special Agent Eric Durante.
04:37:21    9   Q. When you received that recording device, what did it look
04:37:25   10   like to you in terms of describing it?
04:37:27   11   A. I don't specifically remember the color, but it was a
04:37:31   12   small electronic digital recording device. It's similar in
04:37:35   13   appearance to a small tape recorder.
04:37:40   14              MS. GUREN: One moment, your Honor?
04:37:42   15              THE COURT: Sure.
04:37:44   16              MS. GUREN: Thank you. No further questions.
04:37:54   17              THE COURT: Okay. Mr. Rubino?
04:37:54   18                                       - - -
04:37:54   19                       JACOB GALVAN, CROSS-EXAMINATION
04:37:54   20   BY MR. RUBINO:
04:38:01   21   Q. Good afternoon, sir.
04:38:02   22   A. Good afternoon.
04:38:07   23   Q. You were the liaison between Pedro and Margarito Flores
04:38:14   24   and the Chicago Field Office of the DEA, correct?
04:38:18   25   A. Yes.
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04:38:19    1   Q. Now, at the time you were the liaison between them and the
04:38:23    2   field office, they were federal fugitives, were they not?
04:38:29    3   A. I believe so.
04:38:30    4   Q. The Flores brothers are United States citizens, are they
04:38:34    5   not?
04:38:34    6   A. I believe so, yes.
04:38:36    7   Q. And how long had you been their liaison?
04:38:42    8   A. From what time to what time? In what --
04:38:46    9   Q. That's what I'm asking you.
04:38:47   10              When did you start in this liaison role?
04:38:50   11   A. Approximately a month to a month and a half before I sent
04:38:55   12   the recordings to Chicago. So some time probably in October,
04:39:00   13   the earliest.
04:39:03   14   Q. Now, and exactly what did you do -- define to me what you
04:39:12   15   mean by liaison. I don't think I really understand the
04:39:15   16   meaning of that word.
04:39:16   17   A. I would pass instructions from Chicago to them, pass their
04:39:23   18   responses from Pedro and Margarito to Chicago.
04:39:29   19   Q. Did you actually meet with the Flores brothers in person
04:39:34   20   in Mexico?
04:39:34   21   A. On some occasions.
04:39:36   22   Q. On how many?
04:39:38   23   A. I can't recall a specific number.
04:39:40   24   Q. A guess?
04:39:42   25   A. A handful, two, three.
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04:39:52    1   Q. Now, when you met with them, where would you meet with
04:39:54    2   them?
04:39:54    3   A. In various locations in the city.
04:39:58    4   Q. Did they ever come to the DEA office?
04:40:01    5   A. No.
04:40:01    6   Q. Did you ever go to their residence?
04:40:03    7   A. No.
04:40:03    8   Q. Did you ever go to their office?
04:40:07    9   A. No.
04:40:07   10   Q. If they had one. I don't know. I'm asking.
04:40:09   11   A. No.
04:40:10   12   Q. Okay. So what kind of places would you meet them in?
04:40:15   13   A. Public places.
04:40:16   14   Q. Well, give me a hint what a public place is.
04:40:20   15              Anything from a shopping center, restaurant, or bar,
04:40:26   16   or what?
04:40:26   17   A. A shopping center parking lot.
04:40:27   18   Q. Okay. And, obviously, you would arrange in advance this
04:40:30   19   meeting. It wasn't by happenstance or chance you met them,
04:40:33   20   was it?
04:40:34   21   A. Correct, it was arranged in advance.
04:40:36   22   Q. Okay. Now, you've got a meeting arranged in advance with
04:40:42   23   two United States federal fugitives, and you don't arrest
04:40:46   24   them. Why is that?
04:40:49   25   A. I didn't have any arrest authority in Mexico.
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04:40:53    1   Q. Let me ask you this: Does your agency cooperate with the
04:40:59    2   Mexican government?
04:41:03    3   A. To a certain degree on some occasions.
04:41:06    4   Q. Okay. You have heard of United States citizens being
04:41:10    5   arrested in foreign countries and extradited to the United
04:41:13    6   States?
04:41:13    7              MS. GUREN: Objection.
04:41:14    8              THE COURT: All right. I'm going to sustain that
04:41:16    9   regarding the legal analysis of what you know to be treaty
04:41:22   10   law, which we would have to have a little primer on if we
04:41:26   11   continued. Okay?
04:41:27   12              MR. RUBINO: Sure.
04:41:27   13              THE COURT: All right.
04:41:28   14   BY MR. RUBINO:
04:41:29   15   Q. Let me ask you this: Could you have asked the Mexican
04:41:34   16   authorities to accompany you to this meeting with the United
04:41:39   17   States fugitives and arrest them for you?
04:41:41   18              MS. GUREN: Same objection, your Honor.
04:41:46   19              THE COURT: Okay. Sustained.
04:41:46   20   BY MR. RUBINO:
04:41:47   21   Q. Have you ever arrested a U.S. fugitive or participated in
04:41:51   22   the arrest of a U.S. fugitive in Mexico?
04:41:54   23              MS. GUREN: Objection, your Honor.
04:41:55   24              THE COURT: Overruled.
04:41:57   25              THE WITNESS: Yes.
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04:41:58    1   BY MR. RUBINO:
04:41:58    2   Q. You have done that?
04:41:59    3   A. Yes.
04:42:00    4   Q. So it's been done before.
04:42:01    5              This wouldn't be some brand new thing that's never
04:42:04    6   been done, would it?
04:42:05    7   A. Arresting --
04:42:06    8   Q. Arresting a United States federal fugitive in Mexico.
04:42:10    9   A. Yes, it's been done before.
04:42:11   10   Q. And it could have been done then, couldn't it?
04:42:13   11              MS. GUREN: Objection, your Honor.
04:42:15   12              THE COURT: Sustained.
04:42:16   13   BY MR. RUBINO:
04:42:17   14   Q. Can you explain to me why it wasn't done then.
04:42:19   15              MS. GUREN: Objection, your Honor.
04:42:20   16              THE COURT: Overruled.
04:42:23   17              THE WITNESS: No, I can't.
04:42:24   18   BY MR. RUBINO:
04:42:25   19   Q. You don't know why?
04:42:26   20   A. No, I don't know why.
04:42:30   21   Q. Now, you told -- which Flores did you tell to purchase the
04:42:36   22   digital recorder?
04:42:37   23   A. Pedro.
04:42:41   24   Q. And do you know if he, in fact, did such?
04:42:48   25   A. I believe he did.
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04:42:51    1   Q. Because he turned over a digital recorder to you?
04:42:54    2   A. Correct.
04:42:55    3   Q. Now, do you know where he got this digital recorder?
04:42:59    4   A. No, I don't.
04:43:03    5   Q. Do you know if he used this digital recorder to record any
04:43:08    6   phone calls?
04:43:11    7   A. I assume he did, since he turned it over to me and I sent
04:43:15    8   it to Chicago.
04:43:16    9   Q. Okay. Do you know -- were you present when he made --
04:43:22   10   when he used this digital recorder to record phone calls?
04:43:26   11   A. No.
04:43:26   12   Q. Actually, you don't even know if he recorded any calls.
04:43:29   13   Someone else could have, right?
04:43:31   14   A. I don't know what the contents of the recorder was, no.
04:43:34   15   Q. No.
04:43:35   16              And you didn't see it being done, did you?
04:43:37   17   A. No, I didn't see him making recorded calls.
04:43:40   18   Q. Right.
04:43:40   19              So we don't know as a fact whether he, in fact, made
04:43:44   20   them or someone else, do we?
04:43:46   21   A. Correct.
04:43:48   22   Q. Now, do you know if the recorder was working perfectly at
04:43:53   23   the time he made the calls?
04:43:56   24   A. No, I don't know anything as to the functionality of the
04:44:00   25   recorder.
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04:44:01    1   Q. So it wasn't checked in advance to see if it was working
04:44:04    2   properly?
04:44:05    3   A. Correct.
04:44:05    4   Q. Do you know if it was turned off during any portions of
04:44:08    5   the calls?
04:44:09    6   A. No, I don't know that.
04:44:10    7   Q. Turned off, turned back on.
04:44:12    8              In other words, omitting certain things during the
04:44:16    9   calls?
04:44:17   10   A. No, I don't know that.
04:44:18   11   Q. Is there anything you know about those calls being made?
04:44:24   12   A. Specifically about the calls being made?
04:44:27   13   Q. Mm-hmm.
04:44:29   14   A. No.
04:44:30   15   Q. Would it be fair to say your entire knowledge is that this
04:44:35   16   federal fugitive met you, handed you a recorder, and you then
04:44:39   17   sent the recorder to somebody else?
04:44:42   18   A. Yes.
04:44:44   19   Q. Did you listen to the calls?
04:44:46   20   A. No.
04:44:50   21   Q. You don't know who placed the call, you don't know what
04:44:53   22   was said, and you don't know who received the call; am I
04:44:57   23   correct?
04:44:57   24   A. No, I don't know the contents of the recording.
04:44:59   25   Q. And you have no idea under what circumstance the calls
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04:45:02    1   were, in fact, made?
04:45:04    2   A. No.
04:45:05    3   Q. Okay. During the period that you were the liaison between
04:45:10    4   two federal fugitives and your Chicago office, did you have
04:45:16    5   any discussions with these federal fugitives about stopping
04:45:20    6   their drug dealing in America?
04:45:24    7              MS. GUREN: Objection, hearsay.
04:45:26    8              THE COURT: Sustained.
04:45:28    9   BY MR. RUBINO:
04:45:29   10   Q. Were they -- was any request made of them to stop their
04:45:33   11   drug dealing in America?
04:45:35   12              MS. GUREN: Objection, foundation.
04:45:36   13              THE COURT: Okay. It's sustained for the same
04:45:39   14   reason. It still calls for a hearsay answer, so it's
04:45:44   15   sustained on hearsay, even what he said to them. Out of the
04:45:48   16   court statement offered for the truth of the matter asserted.
04:45:51   17   Just because he's here, doesn't mean he can say it.
04:45:55   18   Sustained.
04:45:58   19   BY MR. RUBINO:
04:45:59   20   Q. Do you know if the two brothers continued drug dealing
04:46:06   21   during the period you were their liaison?
04:46:10   22   A. No, I don't know that.
04:46:12   23   Q. Do you know if -- during that period if they voluntarily
04:46:17   24   turned over their stash houses full of drugs and money?
04:46:20   25   A. No, I don't know that.
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04:46:22    1   Q. Is it standard policy of the DEA to negotiate with
04:46:29    2   fugitives?
04:46:30    3              MS. GUREN: Objection, your Honor.
04:46:32    4              THE COURT: I'm going to sustain that. You can ask a
04:46:37    5   more narrow question, if you can, but we're not going to get
04:46:41    6   into the DEA policy --
04:46:42    7              MR. RUBINO: Okay.
04:46:43    8              THE COURT: -- of negotiations.
04:46:44    9              MR. RUBINO: Yes, your Honor.
04:46:46   10   BY MR. RUBINO:
04:46:47   11   Q. Have you ever negotiated with federal fugitives in the
04:46:50   12   past?
04:46:51   13   A. Me personally, no.
04:46:53   14   Q. Have you ever been assigned as a liaison to a federal
04:46:57   15   fugitive?
04:47:01   16   A. Yes.
04:47:02   17              MR. RUBINO: You have.
04:47:05   18              And in this case -- no. I'm finished. Thank you
04:47:13   19   very much.
04:47:14   20              THE COURT: Okay. Any redirect?
04:47:20   21              MS. GUREN: No redirect, your Honor.
04:47:22   22              THE COURT: Okay. You may step down.
04:47:22   23              (Witness leaves the stand.)
04:47:25   24              THE COURT: And you can call your next witness.
04:47:26   25              MS. RODNEY: Your Honor, the Government calls Special
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04:47:29    1   Agent Eric Durante.
04:47:31    2              THE COURT: Okay.
04:47:48    3              (Witness takes the stand.)
04:47:52    4              THE COURT: Raise your right hand.
04:47:54    5              (The witness was sworn.)
04:47:57    6              THE COURT: All right. Have a seat.
04:47:59    7              And you may begin when you are ready, Mr. Rubino.
04:47:59    8                                       - - -
04:47:59    9                      ERIC DURANTE, DIRECT EXAMINATION
04:47:59   10   BY MS. RODNEY:
04:48:05   11   Q. Agent, will you please state and spell your name for the
04:48:08   12   record?
04:48:08   13   A. Eric Durante, D-u-r-a-n-t-e.
04:48:12   14   Q. And where are you currently employed?
04:48:14   15   A. Nassau Country Office, DEA.
04:48:17   16   Q. And what is your title with the DEA?
04:48:19   17   A. Special Agent.
04:48:22   18   Q. Just to clarify, where is the Nassau Country Office?
04:48:26   19   A. In the Bahamas.
04:48:28   20   Q. And how long have you been assigned to that location?
04:48:31   21   A. Approximately one year.
04:48:33   22   Q. And how long have you been employed as a special agent?
04:48:36   23   A. Approximately seven and a half years.
04:48:39   24   Q. Now, prior to being assigned to the Nassau Country Office,
04:48:43   25   where were you stationed?
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04:48:44    1   A. Chicago Field Division.
04:48:46    2   Q. And how long did you work in the Chicago office?
04:48:48    3   A. Approximately six and a half years.
04:48:50    4   Q. And during what years did you work as a special agent in
04:48:53    5   the Chicago Field Division?
04:48:54    6   A. From 2004 through 2010.
04:48:58    7   Q. Prior to becoming a special agent, did you work in law
04:49:02    8   enforcement elsewhere?
04:49:02    9   A. Yes, I did, in the State of Arizona.
04:49:05   10   Q. And what did you do there?
04:49:06   11   A. I was a police officer for the State of Arizona for
04:49:09   12   approximately six years.
04:49:12   13   Q. Now, returning to your current assignment as a special
04:49:13   14   agent, did you receive any training prior to becoming a
04:49:17   15   special agent?
04:49:17   16   A. Yes, I did.
04:49:18   17   Q. Can you describe that training?
04:49:20   18   A. It was approximately five months in the -- Quantico,
04:49:23   19   Virginia. At that time we were taught how to run criminal
04:49:25   20   investigations, include gathering of evidence, interviewing
04:49:29   21   subjects, making arrests, analyzing toll analysis, driving,
04:49:35   22   among other things.
04:49:38   23   Q. And what do your responsibilities include as a special
04:49:41   24   agent?
04:49:41   25   A. To run criminal investigations, mainly enforce federal
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04:49:46    1   drug laws, Title 21, to include the same things, gathering
04:49:50    2   evidence, making arrests, interviewing subjects, controlling
04:49:54    3   confidential sources, confidential defendants -- cooperating
04:49:58    4   defendants.
04:49:58    5   Q. Agent Durante, I'd like to direct your attention to the
04:50:01    6   time period of November of 2008. Were you working as a
04:50:07    7   special agent in DEA Chicago Field Division then?
04:50:09    8   A. Yes, I was.
04:50:11    9   Q. Now, during that same period were you involved in the
04:50:14   10   Chicago DEA's investigation of Ron Collins?
04:50:16   11   A. Yes, I was.
04:50:18   12   Q. As part of the investigation did you speak to Ron Collins?
04:50:21   13   A. Yes, I did.
04:50:22   14   Q. When did you speak to him?
04:50:24   15   A. In August of 2009.
04:50:26   16   Q. Did you speak to Ron Collins in person?
04:50:28   17   A. Yes, I did.
04:50:29   18   Q. Approximately how long did you speak with him?
04:50:32   19   A. It was about 45 minutes or so, approximately.
04:50:36   20   Q. During that August 2009 conversation with Mr. Collins, did
04:50:40   21   you become familiar with his voice?
04:50:43   22   A. Yes, I did.
04:50:44   23   Q. Looking around the courtroom, do you see the person you
04:50:46   24   spoke to in August 2009?
04:50:48   25   A. Yes, I do.
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04:50:49    1   Q. Can you please point that person out and identify him by a
04:50:52    2   piece of clothing?
04:50:53    3   A. He's sitting next to the defense counsel in a blue suit,
04:50:57    4   white shirt.
04:50:58    5              MS. RODNEY: Your Honor, may the record reflect that
04:51:00    6   the witness has identified the defendant?
04:51:02    7              THE COURT: It will.
04:51:03    8   BY MS. RODNEY:
04:51:03    9   Q. Now, Agent Durante, directing your attention back to
04:51:06   10   November of 2008, can you describe your role in the
04:51:11   11   investigation at that time?
04:51:11   12   A. I was the lead case agent. I was handling cooperating
04:51:15   13   defendants, among other things.
04:51:18   14   Q. And where was the cooperator located that you were
04:51:21   15   handling?
04:51:22   16   A. In Mexico.
04:51:23   17   Q. Did you meet that cooperator in person?
04:51:26   18   A. Yes, I did.
04:51:27   19   Q. Approximately when did you meet the cooperator?
04:51:29   20   A. In November of 2008.
04:51:35   21   Q. Now, prior to meeting him in person, did you talk to the
04:51:38   22   cooperator by phone?
04:51:39   23   A. Yes, yes, I did.
04:51:40   24   Q. Approximately how many times?
04:51:44   25   A. It was sporadic from August 'til November, when I met him
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04:51:49    1   in person.
04:51:50    2              MS. RODNEY: Your Honor, may I publish Government
04:51:53    3   Exhibit Photo 1?
04:51:53    4              THE COURT: You may.
04:52:05    5   BY MS. RODNEY:
04:52:05    6   Q. Agent Durante, directing your attention to Government
04:52:08    7   Exhibit Photo 1, do you recognize the individual depicted in
04:52:11    8   that exhibit?
04:52:12    9   A. Yes, I do.
04:52:13   10   Q. Who is it?
04:52:14   11   A. It's Peter Flores.
04:52:15   12   Q. Is this the cooperator that you were -- that you met in
04:52:18   13   November of 2008 in Mexico?
04:52:20   14   A. Yes, it is.
04:52:21   15   Q. And during your meeting with Peter Flores -- in your prior
04:52:24   16   phone conversations with him, did you become familiar with his
04:52:27   17   voice?
04:52:28   18   A. Yes, I did.
04:52:29   19   Q. In November of 2008 how was Peter Flores working with law
04:52:33   20   enforcement?
04:52:33   21   A. He was providing us with information about drug suppliers
04:52:37   22   and customers and was recording telephone conversations with
04:52:41   23   drug suppliers and drug customers.
04:52:43   24   Q. And who instructed Peter Flores to make those recordings?
04:52:47   25   A. I did.
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04:52:48    1   Q. Approximately when did you give him these instructions?
04:52:50    2   A. I first told him back in August, but I -- when I met him
04:52:54    3   in person, I told him again.
04:52:55    4   Q. So again in November 2008?
04:52:58    5   A. Correct.
04:52:58    6   Q. And what were those instructions?
04:53:01    7   A. When he can do so in a safe manner, to record phone
04:53:05    8   conversations with his drug suppliers and drug customers, so
04:53:08    9   we can use it for evidence.
04:53:10   10   Q. And when you say, Do so in a safe manner, what do you mean
04:53:13   11   by that?
04:53:14   12   A. Because where he was in Mexico, he couldn't be seen with a
04:53:19   13   recorder. And his drug suppliers would come over to his house
04:53:24   14   unannounced, so any time that he had a chance to record and he
04:53:30   15   felt it was safe -- a safe time to do it, I told him to do so.
04:53:33   16   Q. Were you when -- were you present when Peter made these
04:53:38   17   recordings?
04:53:38   18   A. No, I was not.
04:53:40   19   Q. Why weren't you present when Peter Flores made these
04:53:42   20   recordings?
04:53:43   21   A. Because agents with him in Mexico would have been
04:53:45   22   identified by his drug suppliers, and it would cause a safety
04:53:48   23   issue to his -- for his safety.
04:53:50   24   Q. Why couldn't you participate in the recording by phone?
04:53:53   25   A. Because we -- we had certain phones that we used to
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04:53:57    1   communicate. And at times down in Mexico you're not sure
04:54:01    2   who's listening to what phone, so we did not want to have him
04:54:04    3   call an agent before he called any drug supplier or customers
04:54:08    4   to make recorded calls. It's, again, another safety issue.
04:54:19    5   Q. Did Peter Flores make recorded calls after you gave him
04:54:23    6   those instructions?
04:54:24    7   A. Yes, he did.
04:54:25    8   Q. And what did you do with the recordings after he made
04:54:27    9   them?
04:54:28   10   A. After he made them, he later turned them over to an agent
04:54:32   11   down in Mexico.
04:54:33   12              MR. RUBINO: Objection, hearsay.
04:54:34   13              MS. RODNEY: We're talking about --
04:54:34   14              THE COURT: Okay. Wait.
04:54:35   15              Sustained. It's not hearsay. It's speculation.
04:54:38   16   Sustained.
04:54:39   17   BY MS. RODNEY:
04:54:40   18   Q. Just to back up, how did -- how do you know what Peter
04:54:43   19   Flores did with the recordings?
04:54:45   20   A. I directed Peter Flores to turn over his recordings to an
04:54:48   21   agent in Mexico, after -- when he could do so in a safe
04:54:52   22   manner.
04:54:54   23   Q. Did you ultimately receive those recordings?
04:54:57   24   A. Yes, I did.
04:54:58   25   Q. How did you receive the recordings?
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04:55:00    1   A. By FedEx.
04:55:01    2   Q. And where were you when you received them?
04:55:04    3   A. Chicago.
04:55:05    4   Q. Who sent the recordings to you?
04:55:07    5   A. Special Agent Jake Galvan.
04:55:11    6   Q. What form were the recordings in when you received them?
04:55:14    7   A. They were downloaded on to CD.
04:55:17    8   Q. What did you do with the recordings when you received
04:55:19    9   them?
04:55:19   10   A. When I opened the package, I labeled the CD and made a
04:55:23   11   copy of it and downloaded the original CD into evidence.
04:55:27   12   Q. And was it just one CD that you received?
04:55:30   13   A. At that time, yes.
04:55:37   14   Q. Agent, I'm going to hand you a stack of exhibits. We'll
04:55:41   15   go through them one at a time.
04:55:56   16              Agent, if you could direct your attention to the
04:55:59   17   exhibit marked Government Exhibit Recordings 1, do you have
04:56:01   18   that in front of you?
04:56:03   19   A. Yes, I do.
04:56:04   20   Q. And do you recognize this exhibit?
04:56:07   21   A. Yes, I do.
04:56:08   22   Q. And what is it?
04:56:09   23   A. This is a CD containing the recorded phone conversations
04:56:13   24   made by Peter Flores at my direction.
04:56:16   25   Q. And how do you recognize these exhibits?
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04:56:20    1   A. The markings on the label and the markings on the CD are
04:56:24    2   my handwriting.
04:56:30    3   Q. And when did you receive the exhibit?
04:56:33    4   A. In December of 2008.
04:56:35    5   Q. When in December 2008?
04:56:37    6   A. December 10th, 2008.
04:56:41    7   Q. Did you listen to the recordings on Government Exhibit
04:56:45    8   Recordings 1?
04:56:46    9   A. Yes, I did.
04:56:49   10   Q. And when did you listen to those recordings?
04:56:52   11   A. I listened to it the day I received it and numerous times
04:56:56   12   thereafter.
04:56:57   13   Q. And if you could put that exhibit to the side, can I
04:57:00   14   direct your attention to the photos marked Government
04:57:02   15   Exhibit 1A, 1B, and 1C? Do you have those photos in front of
04:57:10   16   you?
04:57:11   17   A. Yes, I do.
04:57:13   18   Q. Can you tell the contents of those exhibit photos?
04:57:13   19   A. (No response.)
04:57:32   20   Q. And do you recognize Government Exhibit 1A, 1B, and 1C?
04:57:37   21   A. Yes, I do.
04:57:38   22   Q. And what are those three exhibits?
04:57:41   23   A. All three of them, 1A, 1B, and 1C, are CDs containing
04:57:46   24   recorded conversations from Peter Flores that were originally
04:57:50   25   contained on Government Exhibit Recording 1.
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04:57:53    1   Q. And how do you recognize Government Exhibit 1A, 1B, and
04:57:57    2   1C?
04:57:58    3   A. By my initials.
04:58:00    4   Q. Prior to your testimony today, did you listen to the
04:58:03    5   recordings on Government Exhibit 1A, 1B, and 1C?
04:58:07    6   A. Yes, I did.
04:58:09    7   Q. And when you listened to those exhibits, did you hear
04:58:11    8   voices on them?
04:58:12    9   A. Yes, I did.
04:58:13   10   Q. Did you recognize any of the voices?
04:58:15   11   A. Yes, I do.
04:58:16   12   Q. Whose voices did you recognize?
04:58:18   13   A. Peter Flores and Ronald Collins.
04:58:23   14   Q. On which exhibits did you recognize those voices?
04:58:25   15   A. On all three, 1A, 1B, and 1C.
04:58:31   16   Q. How did you recognize Peter Flores' voice?
04:58:33   17   A. From meeting with him in person numerous times and talking
04:58:39   18   to him over the phone.
04:58:40   19   Q. And how did you recognize defendant Ron Collins'?
04:58:44   20   A. From after I met with him in person and voice comparing.
04:58:49   21   Q. So prior to speaking to the defendant in 2009, did you
04:58:49   22   have other information about the identity of the speakers on
04:58:51   23   Government Exhibit 1A, 1B, and 1C?
04:58:54   24   A. Yes, I did.
04:58:55   25   Q. And from whom did you receive that information?
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04:58:57    1   A. Peter Flores.
04:58:59    2   Q. Now, does Government Exhibit 1A, 1B, and 1C contain a true
04:59:04    3   and accurate copy of the three recorded phone conversations
04:59:07    4   that originated on Government Exhibit Recordings 1?
04:59:10    5   A. Yes, they do.
04:59:11    6   Q. Do each of the recordings on Government Exhibit 1A, 1B,
04:59:15    7   and 1C accurately reproduce both the words spoken and the
04:59:19    8   sounds of the speakers' voices as those words were spoken and
04:59:23    9   as those sounds occurred in the original conversation
04:59:27   10   reproduced in each of these recordings?
04:59:29   11              MR. RUBINO: Objection, that will be out of the scope
04:59:31   12   of his knowledge. He was not there when it was made.
04:59:34   13              THE COURT: I don't believe that that's what the
04:59:36   14   foundational question was, but, rather, whether the recordings
04:59:40   15   that he transferred on the disk sounded the same, the same
04:59:44   16   words that came from the tape recording to the disk. Isn't
04:59:47   17   that where we're at, Mr. Rubino, that's what you're moving in
04:59:50   18   at this moment?
04:59:51   19              MS. RODNEY: Yes.
04:59:51   20              THE COURT: So that's overruled.
04:59:53   21              But do you want to place an objection for the record?
04:59:55   22              MR. RUBINO: He's never listened to the tape
04:59:58   23   recording -- to the recorder, better phrased -- the recorder
05:00:03   24   was downloaded --
05:00:04   25              THE COURT: Understood. Understood. Got it. But
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05:00:06    1   the objection's overruled, based upon the foundation she laid.
05:00:11    2              THE WITNESS: Yes, they are.
05:00:13    3   BY MS. RODNEY:
05:00:14    4   Q. When you listened to the calls and copied them, did you
05:00:17    5   determine when they were made?
05:00:19    6   A. Yes, they were time stamped on the CD from the digital
05:00:24    7   recorder.
05:00:24    8   Q. And when were those calls made --
05:00:26    9              MR. RUBINO: Objection.
05:00:28   10   BY MS. RODNEY:
05:00:28   11   Q. -- recordings made?
05:00:29   12              MR. RUBINO: He doesn't have the foundation --
05:00:31   13              THE COURT: All right. Objection, foundation --
05:00:33   14              MR. RUBINO: Thank you.
05:00:34   15              THE COURT: -- is sustained. You may lay the
05:00:36   16   foundation.
05:00:37   17   BY MS. RODNEY:
05:00:38   18   Q. Backing up to when you first received Government Exhibit
05:00:41   19   Recordings 1, you testified that you listened to those
05:00:44   20   recordings when you received it?
05:00:45   21   A. Yes, I did.
05:00:46   22   Q. You also made a copy of the recordings?
05:00:48   23   A. Yes, I did.
05:00:49   24   Q. When you made the copies of the recordings, were you able
05:00:52   25   to determine when the calls occurred?
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05:00:54    1   A. Yes, I was.
05:00:55    2   Q. How did you do that?
05:00:56    3   A. Because on the CD itself -- they were downloaded from a
05:01:00    4   digital recorder onto the CD. And when the download has the
05:01:04    5   track, it also has a time stamp for the day and the time that
05:01:08    6   they were made, based off what the digital recorder was set
05:01:11    7   to, which was set to the correct day and time.
05:01:13    8   Q. So from that information --
05:01:15    9              MR. RUBINO: Objection. He wouldn't know if it was
05:01:18   10   set to the correct time or not.
05:01:20   11              THE COURT: Okay. Here you go, folks. It is late in
05:01:23   12   the day, and I will deal with them for a few minutes, and you
05:01:26   13   may go home, okay, so have a nice evening. Be safe and
05:01:30   14   remember my rule. No internet use, no discussion with each
05:01:34   15   other, no discussion at home, no blogging, no Twittering, no
05:01:39   16   Tweeting, no Facebooking, no Wikipediaing, no Googling.
05:01:46   17              Okay. Have a nice night.
05:02:01   18              (The jury leaves the courtroom.)
05:02:17   19              THE COURT: All right. Please be seated. You can
05:02:19   20   step down, sir, and go out of the courtroom if you would,
05:02:22   21   please.
05:02:22   22              THE WITNESS: Okay.
05:02:23   23              (Witness leaves the stand.)
05:02:25   24              (Exit witness.)
05:02:26   25              THE COURT: All right. So, Mr. Rubino, the
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05:02:28    1   foundation that she laid wasn't that he heard the original
05:02:31    2   conversation, but, rather, that he listened to the
05:02:33    3   recording --
05:02:34    4              MR. RUBINO: Understand.
05:02:35    5              THE COURT: -- and then he put the recording that he
05:02:36    6   got off the tape onto this. So that's why I overruled the
05:02:40    7   objection.
05:02:40    8              MR. RUBINO: The pending question -- the question was
05:02:43    9   about the date they were made.
05:02:45   10              THE COURT: Oh, I'm just going back to the previous
05:02:48   11   objection, first, to make the record.
05:02:49   12              MR. RUBINO: I understand.
05:02:50   13              THE COURT: Okay. And now this one is the date that
05:02:53   14   he made this recording.
05:02:55   15              MR. RUBINO: The date someone made it.
05:02:56   16              THE COURT: No, this one where he transferred.
05:02:59   17              MR. RUBINO: The question is the date the
05:03:02   18   conversations were made.
05:03:03   19              THE COURT: Okay.
05:03:04   20              MR. RUBINO: And he is basing that upon a time stamp
05:03:08   21   that the recorder put on it.
05:03:11   22              THE COURT: Right.
05:03:12   23              MR. RUBINO: And he said -- and I might even have to
05:03:16   24   ask the court reporter to read it back -- but he said to the
05:03:19   25   effect of, Assuming that that was done correctly. And what
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05:03:22    1   he's talking about, your Honor, is just like one can take --
05:03:24    2              THE COURT: Oh, I understand. You don't need to
05:03:26    3   explain to me.
05:03:27    4              MR. RUBINO: You can date a camera, you can put the
05:03:28    5   wrong date on it, all the photos have the wrong date. It
05:03:31    6   doesn't mean they were taken the date is stamped on the photo.
05:03:35    7              THE COURT: Right. Okay.
05:03:59    8              (Record read.)
05:03:59    9              THE COURT: Your objection goes to the weight and not
05:04:02   10   to the admissibility of this. This is cross-examine [sic]
05:04:06   11   material. All of what you just said, that it may not be the
05:04:09   12   same, that it can be changed, that it can be altered. But it
05:04:14   13   doesn't change his answer that that's his belief that that's
05:04:17   14   why it was made at that time. So he may testify to it, and
05:04:22   15   then you have all of that fair, effective cross that I know
05:04:24   16   you'll give us tomorrow.
05:04:24   17              Okay. Anything we need to raise before the day is
05:04:28   18   over?
05:04:28   19              MS. GUREN: Just briefly. For -- are you still
05:04:31   20   deciding whether or not to have court on Friday?
05:04:33   21              THE COURT: Yes. I need to know where we're going as
05:04:36   22   far as how far along we've gotten.
05:04:38   23              MS. GUREN: We are going very fast.
05:04:39   24              THE COURT: That's what I figured.
05:04:41   25              MS. GUREN: Yes, which is great. I think that it is
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05:04:43    1   possible that if we had court on Friday, the Government may
05:04:46    2   rest on Friday, if we go super fast, but almost positively by
05:04:52    3   Monday. I think it's possible if we didn't have court on
05:04:54    4   Friday that we would rest Monday and maybe early in the
05:04:57    5   morning on Tuesday. We are flying.
05:04:59    6              THE COURT: Okay. I'll let you know in the morning.
05:05:01    7   I assumed that you would go faster than you thought.
05:05:04    8              The other thing is Mr. Rubino said to me earlier in
05:05:08    9   the day, I invoke the rule, and I did not know what he was
05:05:11   10   saying. I asked him in the hallway if it was a Florida thing.
05:05:15   11   What he said is invoking the rule about no witnesses in the
05:05:18   12   courtroom. I don't know if a witness came in --
05:05:20   13              MR. RUBINO: I haven't seen or suspect any, no.
05:05:22   14              THE COURT: Fair enough. But we do --
05:05:23   15              MR. RUBINO: I always do that in every trial.
05:05:25   16              THE COURT: Fair enough. We do have the exclusion of
05:05:27   17   witnesses, and it's up to the two -- or three of you, rather,
05:05:30   18   to let me know if you see one walk in that I am not familiar
05:05:33   19   with, since we have an effectively open courtroom and people
05:05:37   20   come and go. Okay.
05:05:38   21              MS. GUREN: And the only two people we have had are
05:05:40   22   Case Agent Pat Bagley and Case Agent --
05:05:42   23              THE COURT: No, he wasn't saying that --
05:05:44   24              MR. RUBINO: I didn't claim.
05:05:45   25              THE COURT: He just invoked a rule that I didn't know
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05:05:48    1   what he was invoking, but now I do.
05:05:50    2              Okay. Anything else from anyone else? Yes, sir.
05:05:53    3              MR. RUBINO: Yes. Your Honor, just to save time and
05:05:55    4   not waste the jury's time, not that I mean to waste yours.
05:05:57    5              THE COURT: That's fine.
05:05:57    6              MR. RUBINO: The Government is any minute going to
05:05:59    7   attempt to put these three recordings in.
05:06:02    8              THE COURT: Right.
05:06:02    9              MR. RUBINO: Of course, I'm going to object.
05:06:04   10              THE COURT: I know.
05:06:04   11              MR. RUBINO: Can I put -- I'm trying to save the
05:06:06   12   lengthy objection to put on the record now.
05:06:08   13              THE COURT: You should put it on the record. First
05:06:11   14   of all, we --
05:06:11   15              MR. RUBINO: Do you prefer we do it now?
05:06:11   16              THE COURT: You may do it now.
05:06:11   17              MR. RUBINO: Thank you.
05:06:12   18              THE COURT: And we had at the final pretrial
05:06:15   19   conference a discussion regarding this and your motion
05:06:17   20   before --
05:06:18   21              MR. RUBINO: Exactly.
05:06:18   22              THE COURT: -- and my ruling remains the same that it
05:06:21   23   goes to weight. So go ahead and make it now.
05:06:22   24              MR. RUBINO: I object to all the reasons stated in
05:06:24   25   writing, all the reasons previously argued, plus all the
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05:06:27    1   reasons made today. Therefore, when they do, if I can just
05:06:31    2   say, I have an objection, or whatever words you'd like me to
05:06:34    3   use --
05:06:34    4              THE COURT: That's fine.
05:06:34    5              MR. RUBINO: -- we can just move right along.
05:06:36    6              THE COURT: Okay. Very well.
05:06:37    7              All right. Anything else from anyone tonight?
05:06:40    8              MR. RUBINO: No.
05:06:40    9              THE COURT: All right. Have a nice evening, folks.
05:06:43   10              MS. GUREN: Thank you.
05:06:45   11              MS. RODNEY: Thank you, your Honor.
05:06:47   12              (Adjourned at 5:06 p.m.)
           13                                       - - -
           14
           15
           16
           17                             C E R T I F I C A T E
           18
           19      I certify that the foregoing is a correct transcript from
           20   the record of proceedings in the above-entitled matter.
           21
           22   /s/April M. Metzler, RPR, CRR, FCRR            June 1, 2011
           23   April M. Metzler, RPR, CRR, FCRR               Date
           24   Official Federal Court Reporter
           25
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